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 O B104                                                                  ADVERSARY PROCEEDING NUMBER
(Rev. 2/92)
                     ADVERSARY PROCEEDING COVER SHEET                    (Court Use Only)
                                          (Instructions on Reverse)
PLAINTIFFS                                                                     DEFENDANTS

S. GREGORY HAYS, CHAPTER 7 TRUSTEE FOR CLUSTER                                 CARLOS BECERRA, DAVID WILLIAMS, ALVIN MIRMAN,
TECHNOLOGY CORPORATION                                                         RAYMONDE NARLOW A.K.A. RAY NARLOW A.K.A. RAYE
                                                                               NARLOWE, NORTH AMERICAN MEDICAL CORPORATION,
                                                                               CHELLO GRACE BECERRA, GRABALDI HOLDINGS, LLC,
                                                                               MANUEL PAREDES, FERNANDO CHAVEZ, STANLEY SMITH,
                                                                               VFINANCE INVESTMENTS, INC., ADAGEN MEDICAL
                                                                               INTERNATIONAL, INC. CAMBRIA 68, and C. NORMAN SHEALY
AT TO RN EY S (Firm Name , Address, and Telepho ne N o.)                       ATTOR NEYS (If Known)

GREGORY D. ELLIS, ESQ.
LAMBERTH CIFELLI STOKES & STOUT, P.A.
3343 PTREE RD NE STE 550 ATLANTA GA 30326 404-262-7373

PARTY (Check one box only)                G 1 U.S. PLAINTIFF                G 2 U.S. DEFENDANT              G
                                                                                                            ✔ 3 U.S. NOT A PARTY
CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)

COMPLAINT TO RECOVER IMPROPER TRANSFER OF INTELLECTUAL PROPERTY WITH REQUEST FOR RELIEF UNDER
11 U.S.C. SECTIONS 542, 544, 547, 548, 549, 550 AND 551.




                                                                   NA TU RE OF SUIT
                                                       (Ch eck the one m ost appropriate box only .)
 G 454 To recover money or property
 X                                                    G 455 To revoke an order of confirmation of a G 456 To obtain a declaratory judgment
                                                            Chap. 11, Chap. 12, or Chap. 13 Plan          relating to any of the foregoing
 G 435 To determine validity, priority, or                                                                of action
       extent of a lien or other interest             G 426 To determin e the d ischargeability
       in property                                          of a debt 11 U.S.C. § 523               G 459 To determine a claim or cause of
                                                                                                          action removed to a bankruptcy
 G 458 To obtain approval for the sale of             G 434 To obtain an injunction or other              court
       both the interest of the estate and                  equitable relief
       of a co-owner in property                                                                    G 498 Other (specify)
                                                      G 457 To subordinate any allowed claim or
 G 424 To object or to revoke a discharge                   interest except where such subordina-
              11 U.S.C. § 727                               tion is provided in a plan
                                G
                                ✔ 1 Original      G    2 Removed         G 4 Reinstated       G 5 Transferred
ORIGIN OF
                                   Proceeding          Proceeding           or Reopened           from Another   G CHECK IF THIS IS A CLASS
PROCEEDINGS
                                                                                                  Bankruptcy       ACTION U NDER F.R.C.P. 23
(Check one box only.)
                                                                                                  Court
                       NEAREST THOUSAND                       OTHER RELIEF SOUGHT                                          G   JURY
DEMAND                    $25 MILLION
                       $                                                                                                       DEMAND
                            BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR                                                                 BANKRUPTCY CASE NO.
                         CLUSTER TECHNOLOGY CORP.                                                          05-63325
DISTRICT IN WHICH CASE IS PENDING                             DIVISIONAL OFFICE                             NAME OF JUDGE
                                                                                                            BRIZENDINE
                                                RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF                                                     DEFENDANT                                     ADVERSARY PROCEEDING NO.

DISTRICT                                DIVISIONAL OFFICE                      NAME OF JUDGE


FILING FEE           (Check one box only.)            G
                                                      ✔    FEE ATTACHED              G FEE NOT REQUIRED               G FEE IS DEFERRED

DATE                               PRINT NAME                                  SIGNATURE OF ATTORNEY (OR PLAINTIFF)
       6/16/06                     GREGORY D. ELLIS                             /s/ GREGORY D. ELLIS
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B 104 Reverse
(Rev. 2/92)



                                  ADVERSARY PROCEEDING COVER SHEET (Reverse Side)

This cover sheet m ust be comp leted by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not represented by an attorney) and
submitted to the clerk of the court upon the filing of a complaint initiating an adversary proceeding.

The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings or other papers as
required by law, the Federal Rules of Bankruptcy Procedure, or the local rules of court. This form is required for the use of the clerk of the
cou rt to initiate the docket sheet and to prepare necessary indices and statistical records. A separate cover sheet must be submitted to the
clerk of the court for each complaint filed. The form is largely self-explanatory.

Parties. The names of the parties to the adversary proceeding exactly as they appear on the complaint. Give the names and addresses of
the attorneys if known. Following the head ing “Party ,” che ck the app ropriate bo x ind icating wh ether the U nited States is a party named
in the com plaint.

Cause of Action. Give a brief description of the cause of action including all federal statutes involved. For example, “Complaint seeking
damages for failure to disclose inform ation, Consume r Credit Protection Act, 15 U .S.C. § 16 01 et seq.,” o r “Com plaint by tru stee to avoid
a transfer of property by th e deb tor, 11 U.S.C. § 544 .”

Nature of Suit. Place an “X” in the appropriate box. Only one box should be checked. If the cause fits more than one category of suit,
select the most definitive.

Origin of Proceedings. Check the appropriate box to indicate the origin of the case:

                                                 1.   Original Proceeding.
                                                 2.   Rem ove d from a State or District Court.
                                                 4.   Reinstated or Reopened.
                                                 5.   Transfe rred from An other Bankruptcy C ourt.

Demand. On the next line, state the dollar am oun t dem and ed in the complaint in thousands of dollars. For $1,000 enter “1,” for $10,000
enter “10,” for $100,000 enter “100,” if $1,000,000, enter “1000.” If $10,000,000 or more, enter “9999.” If the amount is less than $1,000,
enter “0001.” If no mo netary dem and is made , enter “XXX X.” If the plaintiff is seeking non-mo netary relief, state the relief sought, such
as injunction or foreclosure of a mortgage.

Bankruptcy Case in W hich T his Adversary Pr oceed ing A rises. Enter the name of the debtor and the docket number of the bankruptcy
case from w hich the proceeding now being filed arose. Beneath, enter the district and divisional office where the case was filed, and the
name of the presiding judge.

Related Adversary Proceedings. State the names of the parties and the six digit adversary proceeding num ber from an y adversary
proceeding concerning the same two parties or the sam e pro perty currently pending in any bankruptcy court. On the next line, enter the
district where the related case is pending, and the name of the presiding judge.

Filing Fee. Check one box . The fee m ust be paid upo n filing unless the plaintiff meets one of the following exceptions. The fee is not
required if the plaintiff is the United States governm ent or the debtor. If the plaintiff is the trustee or a debtor in possession, and there are
no liquid funds in the estate, the filing fee may be deferred until there are funds in the estate. (In the event no funds are ever recovered for
the estate, there will be no fee.) There is no fee for adding a party after the adversary proceeding has been commenced.

Signature. This cover sheet must be signed by the attorney of record in the b ox o n the right o f the last line of the form . If the plaintiff is
represented by a law firm, a mem ber o f the firm mu st sign. If the plaintiff is pro se, that is, not represented by an attorney, the plaintiff mu st
sign.

The name of the signatory must be printed in the box to the left of the signature. The date of the signing must be indicated in the box on
the far left of the last line.
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                IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

IN RE:                                       :     CASE NO. 05-63325
                                             :
CLUSTER TECHNOLOGY CORP.,                    :     CHAPTER 7
                                             :
      Debtor.                                :     JUDGE BRIZENDINE
                                             :
__________________________________           :
                                             :
S. GREGORY HAYS, Chapter 7                   :
Trustee for Cluster                          :
Technology Corp.,                            :     ADVERSARY PROCEEDING
                                             :
      Plaintiff,                             :     NO. _________
                                             :
v.                                           :
                                             :
CARLOS BECERRA, DAVID WILLIAMS,              :
ALVIN MIRMAN, RAYMONDE NARLOW                :
A.K.A. RAY NARLOW A.K.A. RAYE                :
NARLOWE, NORTH AMERICAN MEDICAL              :
CORPORATION, CHELLO GRACE BECERRA,           :
GRABALDI HOLDINGS, LLC, MANUEL               :
PAREDES, FERNANDO CHAVEZ, STANLEY            :
SMITH, VFINANCE INVESTMENTS, INC.,           :
ADAGEN MEDICAL INTERNATIONAL, INC.           :
CAMBRIA 68, and C. NORMAN SHEALY,            :
                                             :
     Defendants.                             :
__________________________________           :

                                    COMPLAINT

      COMES NOW S. Gregory Hays, the duly-appointed and acting

Chapter 7 Trustee (“Trustee” or “Plaintiff”) for Cluster Technology

Corporation (“Cluster” or “Debtor”) in the above-captioned case, by

and through counsel, and for his Complaint alleges as follows:



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                                  INTRODUCTION

                                        1.

      On February 22, 2005 (the “Petition Date”), the Debtor filed

a voluntary petition for relief under Chapter 7 of Title 11 of the

United States Code (as amended, modified, or supplemented, the

"Bankruptcy Code") in the United States Bankruptcy Court for the

Northern District of Georgia, Atlanta Division (the "Bankruptcy

Court").

                                        2.

      Plaintiff was appointed interim trustee after commencement of

the Debtor’s bankruptcy case.                No trustee was elected at the

Section 341 meeting of creditors held on March 29, 2005 (the “341

Hearing”) and, pursuant to 11 U.S.C. § 702(d), Plaintiff became the

permanent trustee in the instant bankruptcy case.

                    NATURE OF THE ADVERSARY PROCEEDING

                                        3.

      This proceeding is against Carlos Becerra (“Becerra”), David

Williams     (“Williams”),      Ray    Narlow      (“Narlow”),   Alvin    Mirman

(“Mirman”), Manuel Paredes (“Paredes”), Fernando Chavez (“Chavez”),

Stanley Smith (“Smith”), and Chello Grace Becerra (“C.G. Becerra”)

who   are    each   former     directors,       officers,   insiders,     and/or

affiliates    of    the   Debtor,     and     C.   Norman   Shealy   (“Shealy”)

(collectively, the “Individual Defendants”), as well as certain

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other    entities,     including         North      American    Medical      Corporation

(“NAM”), Adagen Medical International, Inc. (“Adagen”), vFinance

Investments,         Inc.       (“vFinance”),          Grabaldi      Holdings,            LLC

(“Grabaldi”),       and     Cambria      68    (“Cambria”)       (collectively,           the

“Corporate Defendants”), each of which is an insider or affiliate

of the Individual Defendants (All defendants shall be collectively

referred to as the “Defendants”.)

                                              4.

        Defendants:

        a)   stole    or    otherwise         converted    assets       of   the     Debtor

             including         certain    intellectual         property      and    certain

             patented technology, including, without limitation, U.S.

             Patent No. 6,152,950 (the “950 Patent”), that technology

             known as or related to the "DRS System" or "DRS",

             licensing and manufacturing rights thereto, and related

             technology belonging to the Debtor (collectively the “DRS

             Intellectual Property Rights”) and the Debtor’s interest

             in   that      certain      product      known     as   “Polar        Powder”,

             including, without limitation, the trademark and any and

             all intellectual property rights;

        b)   engaged      in    fraudulent         transfers,    made     for      the   sole

             benefit of one or more of the Defendants, of certain

             property of the Debtor including, without limitation,

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           transfers         of   intellectual       property,      rights     to

           intellectual property, and manufacturing rights;

      c)   committed fraud upon the courts, misrepresented certain

           transfers, and provided forged and false documents to the

           Court and the Trustee;

      d)   breached fiduciary duties owed to the Debtor;

      e)   committed civil conspiracy or otherwise aided and abetted

           each other to commit tortious acts against the Debtor;

      f)   wasted corporate assets of the Debtor;

      g)   converted     certain      trade   secrets,    including,      without

           limitation, drawings and design issues, price lists, and

           part lists; and

      h)   engaged in avoidable transfers pursuant to provisions of

           the Bankruptcy Code and relevant state law.

                                        5.

      Defendants     Becerra,      Narlow,    and    Mirman    breached     their

fiduciary duties by:

      a)   usurping corporate opportunities for themselves;

      b)   improperly disposing of, expending, or diverting the

           Debtor's assets while the Debtor was insolvent;

      c)   improperly disposing of, expending, or diverting the

           Debtor's assets without properly informing themselves

           with regard to the actions they were taking and the

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           resulting effects on the Debtor;

      d)   improperly continuing the Debtor's operations up to and

           beyond the point of insolvency;

      e)   failing      to     use    and   adhere   to    due   care,     loyalty,

           disclosure and good faith;

      f)   dissipating, expending, or diverting assets of the Debtor

           for their sole benefit or for the benefit of their

           relatives, friends, or affiliated companies or for the

           benefit of certain preferred creditors;

      g)   engaging in transactions with insiders that were unfair

           to the Debtor;

      h)   making certain misrepresentations to conceal, continue,

           and aid and abet certain of the Defendants to allow those

           Defendants to continue their tortious conduct;

      i)   converting         or    otherwise   usurping    certain       corporate

           opportunities for their sole benefit, including, without

           limitation, that technology known generally as the 950

           Patent and the DRS System;

      j)   converting certain of the Debtor's intellectual property

           and      using    said    intellectual    property    for     their   own

           personal enrichment to the detriment of the Debtor;

      k)   converting certain parts and other information of the

           Debtor and using such items for their own personal

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             enrichment to the detriment of the Debtor;

      l)     falsifying documents in order to gain an interest in

             property of the Debtor and the estate;

      m)     concealing conduct that was deleterious to the Debtor and

             the estate;

      n)     engaging in numerous conflicts of interest.

                                         6.

      The Trustee, in addition to other claims, seeks a judicial

determination that all rights to certain intellectual property be

deemed the property of, and returned to, the Debtor and the estate.

                                         7.

      Defendants Becerra and Mirman conspired and acted in concert

with each other and with one or more of the other Defendants,

pursuant to a common design, to accomplish the above-described

breaches   of    fiduciary      and   other   duties    and   other   acts    more

particularly described herein, as well as to commit the theft and

conversion      of   the   Debtor’s     intellectual     property,    including,

without limitation, the 950 Patent, and other trade secrets,

intellectual property, and patented technology belonging to the

Debtor.

                                         8.

      Defendants Becerra, Williams, Mirman, and Narlow, who each

served as officers and/or directors of the Debtor, committed

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negligence,      mismanagement,       and       waste   of    corporate      assets       by

participating in and failing to protect the Debtor from the above-

described     breaches    of     fiduciary        duty       and   other     acts       more

particularly described herein.

                                         9.

      In addition, Defendants NAM,               Adagen, Grabaldi, and Cambria,

in concert with one or more of the Defendants, conspired to convert

the   Debtor’s      assets,    including,        without      limitation,         the    DRS

Intellectual Property Rights and other intellectual property, trade

secrets, and patented technology belonging to the Debtor.

                                        10.

      Certain of the Defendants, including, without limitation, NAM,

Adagen, Grabaldi, Cambria, Narlow, Becerra, and Mirman received

substantial transfers, described in further detail herein and

summarized    below,     that     constituted       fraudulent       conveyances         or

transfers     or    preferences      under       the     Bankruptcy        Code     and/or

applicable state law:

      a)     the transfer of some or all of the DRS Intellectual

             Property Rights on behalf of the Debtor to Defendant

             Becerra in May 2001;

      b)     two transfers of some or all of the DRS Intellectual

             Property    Rights,     including,         without     limitation,          the

             manufacturing rights of the DRS System, on behalf of the

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           Debtor to Defendant NAM in May and June 2001;

      c)   the subsequent transfer of some or all of the DRS

           Intellectual          Property       Rights,      including,        without

           limitation, the manufacturing and distribution rights of

           the DRS System by Defendant NAM to Defendant Adagen;

      d)   the transfer of some or all of the DRS Intellectual

           Property      Rights,       including,      without        limitation,    a

           cervical traction accessory for the DRS System, on behalf

           of the Debtor to Defendant NAM in January 2003;

      e)   the transfer of some or all of the DRS Intellectual

           Property      Rights,      including,       without    limitation,       an

           irrevocable license for the 950 Patent, on behalf of the

           Debtor to Defendant NAM in July 2003;

      f)   the transfer of some or all of the Polar Powder Assets,

           described below, on behalf of the Debtor to Defendant

           Becerra in June and November 2003;

      g)   the transfer of some or all of the DRS Intellectual

           Property Rights on behalf of the Debtor to Defendant

           Grabaldi in December 2003;

      h)   the transfer of some or all of the DRS Intellectual

           Property      Rights      by   Defendant        Grabaldi    to    Defendant

           Cambria; and

      i)   the      further     transfer       of   some    or   all    of    the   DRS

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               Intellectual Property Rights on behalf of the Debtor to

               Defendant Becerra and/or one or more of the Defendants

               prior to and subsequent to the Petition Date.

                           JURISDICTION AND PARTIES

                                           11.

      Plaintiff brings this adversary proceeding pursuant to 11

U.S.C.    §§    542,    544(b),      547(b),     548(a)(1)(A)-(B),    549(a),    and

550(a), Federal Rule of Bankruptcy Procedure 7001, O.C.G.A. § 18-2-

22(ii)-(iii), the Uniform Fraudulent Transfers Act under Georgia

law (O.C.G.A. § 18-2-70, et seq.) and/or Florida law (F.S.A.

§726.101 et seq.) (the “UFTA”), the Georgia Uniform Deceptive Trade

Practices Act, O.C.G.A. § 10-1-370, et seq., and §§ 144 and 271 of

the Delaware Corporate Code, to avoid certain Transfers, described

below, made on behalf of the Debtor by certain of its current and

former officers and directors to one or more of the Defendants, and

for the turnover by one or more of the Defendants of certain

property of the Debtor.

                                           12.

      Plaintiff also brings this adversary proceeding pursuant to

applicable state law to recover damages for conversion, breach of

fiduciary duty, negligence, mismanagement, and waste of corporate

assets,    civil       conspiracy/acting         in   concert,   fraud,     punitive

damages, and attorney’s fees from certain of the Defendants.

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                                        13.

      As a result of the certain of the Defendants’ conduct, the

rights and interests of the Debtor, its shareholders, and its

creditors have been harmed, giving rise to direct claims against

these Defendants.

                                        14.

      This adversary proceeding is a “core” proceeding under 28

U.S.C. § 157(b).

                                        15.

      Jurisdiction exists in this Court under 28 U.S.C. § 1334.

                                        16.

      Venue over this adversary proceeding resides in this Court

pursuant to 28 U.S.C. § 1409.

                                        17.

      Defendant Becerra is an officer and director of Cluster.                 He

is a resident of the state of Georgia and can be served at 940

Edgewater Court, Atlanta, Georgia 30328.             Defendant Becerra is an

“insider” within the meaning of 11 U.S.C. § 101(31), O.C.G.A. § 18-

2-71(b) and F.S.A. § 726.106(2).

                                        18.

      Defendant Williams is an officer and director of Cluster.                He

is a resident of England and may be served pursuant to the terms of

the Convention on Service Abroad of Judicial and Extrajudicial

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Documents.     Defendant Williams is an “insider” within the meaning

of   11   U.S.C.    §    101(31),       O.C.G.A.   §   18-2-71(b)    and     F.S.A.   §

726.106(2).

                                            19.

      Defendant Mirman is a former officer and director of Cluster.

Defendant Mirman also served as an investment banker for the Debtor

through Defendant vFinance, of which he was CEO and President.

Defendant Mirman is a resident of the state of Florida and can be

served at 4183 Shell Road, Siesta Key, Florida 34242.                        Defendant

Mirman is an “insider” within the meaning of 11 U.S.C. § 101(31),

O.C.G.A. § 18-2-71(b) and F.S.A. § 726.106(2).                 Defendant vFinance

is a Florida corporation and can be served through its registered

agent, vFin Executive Services, Inc., 3010 N. Military Trail, Suite

300, Boca Raton, Florida 33431.

                                            20.

      Defendant Narlow formerly served as Secretary of Cluster.

Defendant Narlow is also the former or current President and/or a

manager of Defendant Grabaldi and is also a former officer and/or

director of Professional Distribution Systems, Inc. (“PDS”), a

subsidiary of the Debtor.                  He is a resident of the State of

Florida and may be served at 436 NW 120th Drive, Coral Springs,

Florida 33071. Defendant Narlow is an “insider” within the meaning

of   11   U.S.C.    §    101(31),       O.C.G.A.   §   18-2-71(b)    and     F.S.A.   §

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726.106(2).

                                            21.

      Defendant NAM is an affiliated entity of Defendant Becerra.

Defendant NAM is a Georgia corporation and can be served through

its registered agent, Richard K. O’Donnell, at 1649 Sands Place,

Suite A, Marietta, Georgia 30067.                  Defendant Becerra serves as

Chief Executive Officer of Defendant NAM.                 Defendant NAM is wholly

owned and controlled by Defendant Becerra.                   Defendant NAM is an

“insider” within the meaning of 11 U.S.C. § 101(31), O.C.G.A. § 18-

2-71(b) and F.S.A. § 726.106(2).

                                            22.

      Defendant C.G. Becerra is an officer of Defendant NAM and the

wife of Defendant Becerra.                She is a resident of the state of

Georgia and can be served at 940 Edgewater Court, Atlanta, Georgia

30328.    Defendant C.G. Becerra is an “insider” within the meaning

of   11   U.S.C.    §    101(31),       O.C.G.A.   §   18-2-71(b)    and     F.S.A.   §

726.106(2).

                                            23.

      Defendant Grabaldi is a limited liability company organized

under the laws of the State of Florida and is an affiliated entity

of Defendant Becerra. Defendant Becerra’s father-in-law, Defendant

Paredes, is a current or former principal of Defendant Grabaldi.

Defendant Grabaldi may be served through its registered agent,

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Blanche   Adams,    at   Century     Village,    165   Grantham    Building    E,

Deerfield Beach, Florida 33442. Defendant Grabaldi is an “insider”

within the meaning of 11 U.S.C. § 101(31), O.C.G.A. § 18-2-71(b)

and F.S.A. § 726.106(2).

                                         24.

      Defendant Paredes is a former or current manager of Defendant

Grabaldi.   He is a resident of Colombia and may be served pursuant

to the terms of the Convention on Service Abroad of Judicial and

Extrajudicial Documents.         Defendant Paredes is Defendant Becerra’s

father-in-law.

                                         25.

      Defendant Chavez is a former or current manager of Defendant

Grabaldi.    He is a resident of the State of California and may be

served at 2107 Jefferson Avenue, Redwood City, California 94062.

                                         26.

      Defendant Stanley Smith (“Smith”) is a former or current

manager of Defendant Grabaldi.            He is a resident of the State of

Florida and may be served at 2045 San Marcos Drive, Winter Haven,

Florida 33880.

                                         27.

      Defendant     Adagen      is   a    Georgia   corporation      and,    upon

information and belief, an affiliated entity of Defendant NAM.

Defendant Adagen is the primary, if not exclusive, distributor of

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DRS Systems marketed and sold under the Accu-SPINA trademark.                  The

Accu-SPINA machine is built upon the DRS technology and the 950

Patent.     Defendant Adagen may be served through its registered

agent, Terence A. Harvey, at 121 Luckie Street, Suite 200, Atlanta,

Georgia 30303.

                                         28.

        Defendant   Cambria,      upon   information     and   belief,    is    an

affiliated entity of Defendant Becerra.              Defendant Cambria is an

“insider” within the meaning of 11 U.S.C. § 101(31), O.C.G.A. § 18-

2-71(b) and F.S.A. § 726.106(2).

                                         29.

        Defendant Shealy was one of the inventors of the DRS System.

He is a resident of the State of Missouri and may be served at 5607

S. 222nd Road, Fairgrove, Missouri 65648.           Defendant Shealy was and

is scientific adviser to Defendant NAM.              As recently as March of

2006, he has represented to the public that he is such an adviser.

                    FACTUAL ALLEGATIONS TO ALL COUNTS

                             A. Debtor’s background

                                         30.

        The Debtor was incorporated in the State of Delaware in July

1985.     The Debtor is the 100% owner of Professional Distribution

Systems, Inc. (“PDS”), Universal Pain Technology, Inc. (“UPT”), and

Master Medical Marketing, Inc. (“MMM”).

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                                        31.

        The Debtor, together with PDS, UPT and MMM participated in the

manufacture, distribution, and sale of technology known as the “DRS

System” or “DRS”.

                                        32.

        The patent application for the DRS System was filed on March

31, 1998, by Defendants Becerra and Shealy, Joseph Medeiros, and

Charity Martin.      The patent for the DRS System, U.S. Patent No.

6,152,950 (the “950 Patent”), was issued on or about November 28,

2000.

                                        33.

        The Debtor was the exclusive owner of all rights and interest

in the 950 Patent by assignment of the entire interest from the

inventors (the “950 Patent Assignment”), such assignment having

been duly recorded at the United States Patent and Trademark Office

on March 1, 1999.      A true and correct copy of the cover page for

the 950 Patent reflecting the 950 Patent Assignment is attached

hereto as Exhibit “A”.

                                        34.

        The primary market for the DRS System was chiropractic and

pain treatment centers and physicians.

                                        35.

        The DRS System was regulated and approved by the Federal Drug

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Administration      (the     “FDA”),    which   made   the   DRS    System   very

valuable.

                                        36.

      Between May 1997 and July 1999, through a series of sales of

unregistered securities, the Debtor raised capital in an amount in

excess of $3.35 million. Previously, the Debtor had raised capital

in an amount of approximately $971,000.00 through its initial

public offering of its securities in 1986.1

                                        37.

      On August 26, 1997, the Debtor’s Board of Directors (the

“Board”) held an emergency meeting to address charges by the FDA

that Cluster had made misrepresentations in the sales literature

related to the 950 Patent and the DRS System.                Specifically, the

Board determined that Becerra had been in charge of the manufacture

and   marketing     of     the    DRS   System.        Becerra     had   complete

responsibility      to   make    certain      that   the   corporation    was   in

compliance with all federal, state and local regulations.                 Becerra

acknowledged his obligation with regard to ensuring compliance.

The Board determined that Becerra had been negligent in his duties

as an employee of PDS, and negligent in his duties as a member of



      1
          Until March 1996, Cluster was a publicly held corporate

shell seeking a business venture in which to participate.

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the board of directors of Cluster.

                                           38.

      Notwithstanding         the    Board’s     previous   findings      regarding

Becerra’s negligent conduct, Becerra, in concert with one or more

of the Defendants, continued to exert control of Cluster.                        On

February 19, 1999, Becerra was elected to a position as CEO and

General Manager of Cluster. Subsequently, Becerra was appointed to

the Board.

                                           39.

      On July 30, 1999, the Debtor’s Board removed Defendants

Becerra and Williams as directors.                   The Debtor’s Board then

consisted of James Gibson (“Gibson”), Alvin Siegel (“Siegel”),

David Yeager (“Yeager”) and Defendant Mirman.               Though Becerra was

no longer an officer or director of the Debtor, he continued to

have access to the intellectual property of the Debtor.

                                           40.

      As   a   result     of        conflict     among   competing     groups    of

shareholders, on September 18, 2000, the Debtor and UPT filed

petitions for relief under Chapter 11 of the Bankruptcy Code in the

United States Bankruptcy Court for the Middle District of Florida

in   Chapter    11     cases        nos.    00-14507-8GI    and   00-14508-8GI,

respectively.       In the Debtor’s bankruptcy case (the “First Cluster

Bankruptcy Case”), the 950 Patent was listed as an asset of the

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estate.

                                         41.

      As of September 18, 2000, the filing date of the First Cluster

Bankruptcy     Case,    claims      in   the    amount    of     $865,495.55      were

scheduled.     Scheduled assets totaled an amount of $2,065,050.00.

According to the Claims Register, as of February 23, 2001, claims

in the amount of $2,333,298.87 had been filed in the First Cluster

Bankruptcy Case, including, a claim in the amount of $1,444,614.50

filed by or on behalf of Defendant Becerra, and a claim in the

amount    of   $416,508.64       filed   by    Quaker    State      Leasing   Company

(“Quaker State”).

                                         42.

      In October 2000, Defendant Mirman began working with Defendant

Becerra to take control of the Debtor and to cause the transfer of

the   DRS   Intellectual        Property      Rights    and    other   intellectual

property    and     patented     technology     belonging      to    the   Debtor   to

Defendants Becerra, NAM, and one or more of the other Defendants.

                                         43.

      On or about January 21, 2001, during the pendency of the First

Cluster Bankruptcy Case, without court authority and without the

authority of the Debtor’s shareholders, Defendants NAM and Adagen

entered into a contract whereby Defendant Adagen would be Defendant

NAM’s sole distributor and sell modified DRS Systems fitted with a

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control panel and decompression unit allegedly invented by NAM.

These modified DRS Systems were marketed as Accu-SPINA Systems.

                                           44.

      On February 15, 2001, Defendant Becerra, on behalf of Cluster,

advised customers and suppliers of Cluster that Cluster had not

sold or transferred any product rights or intellectual property.

A true and correct copy of the February 15, 2001 Urgent Notice

letter is attached hereto as Exhibit “B”.                  Accordingly, at least,

as of the date of the Urgent Notice letters, Cluster retained

ownership    of     all    of     the   DRS     Intellectual     Property     Rights,

including, without limitation, the 950 Patent.

                                           45.

      Defendant Mirman, as the corporate representative of both

Cluster and UPT, in a deposition taken on February 27, 2001 in

UPT’s bankruptcy case (the “Mirman Deposition”), testified that the

intellectual property of Cluster, including the 950 Patent, had a

value of somewhere between five and twenty-five million dollars.

Mirman also testified that Cluster had never attempted to sell or

assign the DRS Intellectual Property Rights.                    A true and correct

copy of the relevant portion of the Mirman Deposition is attached

hereto as Exhibit “C”.

                                           46.

      On   May    9,    2001,     the   U.S.     Trustee   in   the   First   Cluster

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Bankruptcy Case filed an Emergency Motion to Dismiss or Convert

Case or, in the alternative, Seeking the Appointment of a Chapter

11 Trustee (the “Motion to Dismiss”) on the grounds that the

officers and directors of the Debtor had failed to seek court

authority    for    certain      of   its    business    activities   during     the

pendency    of    the   First    Cluster         Bankruptcy,   including,   without

limitation, approving the business arrangements between the Debtor

and Defendants Becerra, NAM, and Adagen, and the unauthorized

transfer of the Debtor’s assets.                  A true and correct copy of the

relevant portions of the Motion to Dismiss is attached hereto as

Exhibit “D”.

                                            47.

      In the Motion to Dismiss, the U.S. Trustee specifically

alleged that Defendant Adagen was misrepresenting to its customers

that the court in the First Cluster Bankruptcy Case had awarded

“all manufacturing and intellectual rights to the DRS System” to

Defendant NAM when, in fact, no such arrangement was authorized by

the court.       See Exhibit “D”.

                                            48.

      Despite the U.S. Trustee’s motion, Defendants Becerra and

Mirman, in concert with one or more of the Defendants, continued to

work together to use Cluster as an instrumentality to benefit

themselves, their affiliated entities, and one or more of the other

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Defendants.

                                           49.

      On May 23, 2001, Defendant Becerra claimed in a press release

to be the Spokesperson for Cluster, UPT and PDS (the “Becerra Press

Release”). A true and correct copy of the Becerra Press Release is

attached hereto as Exhibit “E”.                  In the Becerra Press Release,

Becerra misrepresented that Cluster and UPT would be “sharing ...

the new and more advanced technology in ‘decompression’ developed

by North American Medical Corporation over the past 18 months by

NAM in Atlanta.”      At that time, Becerra, in concert with Defendant

Mirman   and   one    or   more    of   the      other   Defendants,    planned   on

eliminating all possible resistance to taking the technology from

Cluster,   and      eliminating      the    competition     that   it   posed     for

Becerra’s “other” company, Defendant NAM.

                                           50.

      Then, in a letter dated May 24, 2001 from Defendant Becerra to

Defendant Mirman (the “May 24, 2001 Becerra Letter”), Becerra

refers to a “partnership” between himself and Mirman, the goal of

which was to appropriate the Debtor’s intellectual property for

their sole benefit.        A true and correct copy of the May 24, 2001

Becerra Letter is attached hereto as Exhibit “F”.

                                           51.

      In the May 24, 2001 Becerra Letter, Defendant Becerra boils it

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down to the ultimate breach and fraud by an executive and director

of a company when he states: “I do not see why it would be

difficult to justify what you are doing.            The stockholders?       Why?”

See Exhibit “F”.        Clearly, Becerra had a total disregard for

Cluster or its shareholders.           His only interest was in lining his

own pockets, as he stated: “The amount is up for me to decide.”

See Exhibit “F”.      In the May 24, 2001 Becerra Letter, Defendant

Becerra revealed that he already considered Cluster and UPT to be

his. In the letter, he represents himself as the CEO and President

of Defendant NAM.     However, the letterhead also contains the logos

for Cluster and UPT.         See Exhibit “F”.       NAM and Cluster were (or

should have been) direct competitors.

                                        52.

      Scheming together, Defendants Becerra and Mirman subsequently

engineered the removal of Frank Clark (“Clark”) from the Board,

without any apparent reason, on May 27, 2001.

                                        53.

      Immediately thereafter, by a Resolution of the Board of

Directors dated May 27, 2001 (the “May 27, 2001 Resolution”),

without shareholder authority, the Debtor fraudulently transferred

some or all of the DRS Intellectual Property Rights to Defendant

Becerra (the “First Avoidable Transfer”).             A true and correct copy

of the May 27, 2001 Resolution is attached hereto as Exhibit “G”.

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As explained below, notwithstanding that this transfer was made

during the pendency of the First Cluster Bankruptcy Case without

court authority, this fraudulent transfer is void or voidable by

the Trustee.

                                         54.

       Subsequently, by a May 28, 2001 Unanimous Written Consent of

the Board of Directors of Cluster Technology Corp. (the “May 28,

2001    Consent”),    without         shareholder    authority,      the      Debtor

fraudulently transferred some or all of the DRS Intellectual

Property Rights, including, but not limited to, the manufacturing

rights of the DRS System, to Defendant NAM (the “Second Avoidable

Transfer”), a company wholly owned and controlled by Becerra, as

described in further detail below.             A true and correct copy of the

May    28,   2001   Consent      is     attached    hereto   as     Exhibit      “H”.

Notwithstanding that this transfer was made during the pendency of

the First Cluster Bankruptcy Case without court authority, this

fraudulent transfer is void or voidable by the Trustee.

                                         55.

       Shortly   thereafter,      NAM    transferred    some   or    all    of   the

manufacturing rights for the DRS System to Defendant Adagen (the

“Adagen Transfer”), which began to distribute modified DRS Systems

as Accu-SPINA Systems. Notwithstanding that this transfer was made

during the pendency of the First Cluster Bankruptcy Case without

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court authority, this fraudulent transfer is void or voidable by

the Trustee.

                                          56.

        Shortly thereafter, on May 29, 2001, Defendant Mirman, in

concert with Defendant Becerra, dispatched the last remaining

impediments to their ransacking of Cluster and convinced Siegel and

Yeager to resign from the Board.

                                          57.

        The Trustee believes that Siegel, Yeager, and Clark are likely

to testify that had they been aware of the intentions of Defendants

Becerra and Mirman and the scheming that had occurred prior to

their     resignations,      they   would       have,   consistent    with     their

fiduciary     duties,     taken     steps       to   stop   the   conversion     and

misappropriation of Cluster’s assets and would have been able to

prevent the ransacking of Cluster.              Siegel and Yeager stepped down

from the Board based on false representations that Becerra and

Mirman would act in the best interest of Cluster in sharing

technology with Defendant NAM.            They did not.

                                          58.

        Shortly   thereafter,       the   court      having   granted    the    U.S.

Trustee’s motion to dismiss, the First Cluster Bankruptcy Case was

dismissed on June 8, 2001.



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                                             59.

      Subsequently, on June 15, 2001, Defendant Mirman, without any

authority    and    in    violation      of        Cluster’s   bylaws,    reinstated

Defendants Becerra and Williams as directors.

                                             60.

      Upon the reinstatement of Defendants Becerra and Williams to

the Board, Becerra and Mirman, in concert with one or more of the

Defendants, continued their ransacking of Cluster,                       engineering

further transfers of the Debtor’s intellectual property for their

sole benefit.

                                             61.

      On June 15, 2001, Defendant Mirman, through his company First

Level Capital, Inc., the predecessor corporation of Defendant

vFinance, wrote:

            “This bank has been involved in the efforts and recovery

            and     salvage     of   Cluster         Technology     Corporation     and

            Universal Pain Technology headed by Carlos Becerra since

            October      2000    .   .   .    This    financial     institution     has

            extended     unsecured       loans       to   Carlos    Becerra   for   the

            salvage of the Company and anticipates the full recovery

            of these companies now taken out of Chapter 11 by Carlos

            Becerra’s      actions.           Carlos      Becerra    controls    North

            American Medical Corporation owners (sic) of the evolving

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           technology of ‘decompression therapy’ and recently a

           transaction has taken place where a substantial control

           block of stock is being issued to NAM North American

           Medical Corporation in exchange for this vital technology

           for use in the DRS equipment made by Cluster UPT.                It is

           anticipated at this time a merger of Cluster and NAM may

           be the end result of this association as NAM has become

           the actual manufacturer of the DRS product and this

           financial institution shall remain involved in assisting

           Carlos Becerra NAM and Cluster in what we anticipate will

           become a healthy successful enterprise.(sic)”

A true and correct copy of the letter (the “June 15, 2001 Mirman

Letter”) is attached hereto as Exhibit “I”.

                                        62.

      The relationship between Cluster and Defendant vFinance would

later be strengthened when Defendant Becerra and one or more of the

other Defendants elected to obtain money through the services of

Defendant vFinance.

                                        63.

      On the same date, by a June 15, 2001 Consent in Lieu of

Meeting of the Board of Directors of Cluster Technology Corporation

(the “June 15, 2001 Consent”), without shareholder authority, the

Debtor again fraudulently transferred some or all of the DRS

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Intellectual Property Rights, including, but not limited to, the

manufacturing rights of the DRS System, to Defendant NAM (the

“Third Avoidable Transfer”).            A true and correct copy of the June

15,   2001   Consent   is     attached    hereto       as   Exhibit   “J”.    This

fraudulent transfer, as described in further detail below, is void

or voidable by the Trustee.

                                        64.

      On July 20, 2001, Defendant Becerra authored a confidential

memorandum (the “July 20, 2001 Becerra Memorandum”) regarding the

retention of Arnall Golden Gregory and the potential for delisting

Cluster.     The July 20, 2001 Becerra Memorandum stated that Cluster

had   several   hundred      shareholders.        It    further   indicated   the

relationship that had developed with Defendant NAM: “Then, outside

of the leftover money borrowed from Dave, Marc Alvin and Ira,

Cluster depends on a small float of just under $200,000 that NAM

has to share with Cluster UPT.”               A true and correct copy of the

July 20, 2001 Becerra Memorandum is attached hereto as Exhibit “K”.

                                        65.

      Further cementing the his control of Cluster, on July 31,

2001, Defendant Becerra was elected President and CEO.

                                        66.

      Immediately thereafter, on August 1, 2001, the Board absolved

Defendants Becerra and Williams for any acts of the Debtor, its

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officers and directors, its employees and/or its subcontractors

from July 29, 1999 through July 31, 2001, and for the acts of

similar persons prior to July 29, 1999.               The Debtor received no

consideration for its release of Becerra and Williams, and the

self-serving resolution was a violation of Becerra’s, Mirman’s, and

Williams’ fiduciary obligations to Cluster.

                                        67.

      On September 12, 2001, Cluster and UPT initiated a state court

litigation matter styled Cluster Technology Corp. and Universal

Pain Technology, Inc. v. James J. Gibson, Jr., Axiom Worldwide,

Inc., Nicholas Exarhos, and Pain Technology Sales, Inc., Case No.

01007821, Circuit Court for the Thirteenth Judicial Circuit in and

for Hillsborough County (the “Gibson Litigation”).              The individual

defendants in the Gibson Litigation, Gibson and Nicholas Exarhos

(“Exarhos”) filed counterclaims against Cluster and UPT.

                                        68.

      Axiom Worldwide, Inc. (“Axiom”), Pain Technology Sales, Inc.

(“PTS”), Exarhos, and Gibson also initiated litigation against

Defendants Becerra, C.G. Becerra, and NAM in Case No. 01CV65210-5

in the Superior Court of Dekalb County, Georgia (the “Axiom

Litigation”).       With the Axiom and Gibson Litigation looming,

Becerra, in concert with one or more of the other Defendants

continued to ransack Cluster’s assets.

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                                        69.

       On March 11, 2002, Defendant Mirman resigned from the Board.

Shortly thereafter, Defendants Becerra and Williams authorized the

issuance of stock to Mirman in a Consent in Lieu of a Meeting of

the Board of Directors of Cluster Technology Corp. dated April 4,

2002 (the “First April 4, 2002 Consent”).             A true and correct copy

of the First April 4, 2002 Consent is attached hereto as Exhibit

“L”.

                                        70.

       Subsequently, in another Consent in Lieu of a Meeting of the

Board of Directors of Cluster Technology Corp. dated April 4, 2002

(the “Second April 4, 2002 Consent”), the Debtor moved forward with

the creation of a new subsidiary called Cluster Products, Inc., in

an agreement with its investment bankers, Defendant vFinance.                   A

true and correct copy of the Second April 4, 2002 Consent is

attached hereto as Exhibit “M”.

                                        71.

       In connection therewith, an amount of $400,000 was to be

raised from investors for this venture.              Defendant Becerra never

had any intention to use these funds to benefit Cluster and its

shareholders.       At all times, Becerra and one or more of the

Defendants intended to usurp the funds for their sole benefit.



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                                        72.

      Subsequently, on May 8, 2002, Dr. Ronald Sheppard (“Sheppard”)

joined the Board.

                                        73.

      By November 2002, Defendant Becerra realized that he would not

be able to obtain the whole $400,000 sought from investors in the

Cluster Products venture.         At that point, almost $200,000 had been

raised from investors.           Becerra used said funds solely for his

benefit or the benefit of one or more of the Defendants to fund

ongoing legal costs in those matters where Becerra and NAM were

named as defendants, and in a failed attempt to use Cluster as an

instrumentality to legitimize ongoing fraudulent transfers of its

technology and intellectual property to Becerra, NAM, Adagen, and

one or more of the other Defendants.

                                        74.

      In a Consent in Lieu of a Meeting of the Board of Directors of

Cluster Technology Corp. dated December 30, 2002 (the “December 30,

2002 Consent”), the Board recognized that Defendant Grabaldi, an

affiliated entity of Defendant Becerra managed by his father-in-

law, Defendant Paredes, had purchased a judgment against Cluster

held by Quaker State (the “Quaker State Judgment”) and that the

judgment debt would now be owed to Grabaldi.              In the December 30,

2002 Consent, the Board resolved that “Grabaldi will support

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Cluster in its recovery to oppose any litigation for the benefit of

its shareholders and creditors.”                 A true and correct copy of the

December 30, 2002 Consent is attached hereto as Exhibit “O”.

                                         75.

      The Trustee believes that Sheppard and Defendant Williams are

likely to testify that, consistent with their fiduciary duties,

they would not have consented to the recognition of the judgment

debt to Defendant Grabaldi and the creation of the relationship

between Cluster and Grabaldi had they been fully aware of the

intentions of Defendant Becerra and one or more of the other

Defendants, and the fact that Grabaldi was an affiliate of Becerra.

                                         76.

      Defendant Becerra continued to ransack Cluster.                  By a Consent

in   Lieu   of   a   Meeting     of   the    Board    of   Directors    of   Cluster

Technology Corp. dated January 6, 2003 (the “January 6, 2003

Consent”), without shareholder authority, the Debtor fraudulently

transferred some or all of the DRS Intellectual Property Rights,

including, but not limited to, a cervical traction accessory for

the DRS System, to Defendant NAM (the “Fourth Avoidable Transfer”).

A true and correct copy of the January 6, 2003 Consent is attached

hereto as Exhibit “P”.          As described in further detail below, the

Fourth Avoidable Transfer is void or voidable by the Trustee.



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                                          77.

        In connection therewith, on February 14, 2003, Defendant

Becerra executed a notice on behalf of Defendant NAM, as its

president and CEO, announcing the assignment of the cervical

accessory from Cluster.

                                          78.

        Meanwhile, on June 13, 2003, in the Gibson Litigation, the

court    entered     an   order    granting     the    defendants’    motion    for

dismissal and for sanctions for Cluster and UPT’s “willful and

contumacious disregard for the Court’s prior orders compelling

discovery” over the course of nearly two years. A true and correct

copy of the order is attached hereto as Exhibit “Q”.                 In the course

of the Gibson Litigation, Defendant Becerra, in concert with one or

more    of   the    Defendants,     had   failed      to   respond   to   discovery

requests, had given testimony contrary to sworn interrogatory

answers, failed to produce documents and records, among other

things.

                                          79.

        On June 30, 2003, the parties in the Gibson Litigation, along

with Defendants NAM, C.G. Becerra, and Williams entered into a

settlement of the Gibson Litigation and the Axiom Litigation.                    In

connection therewith, Gibson and Exarhos were awarded judgments on

their counterclaims against Cluster and UPT, in the amounts of

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$2,000,000    and   $1,000,000,       respectively,       which       they   would    be

entitled    to   executed     upon   in    the    event   of     a    breach    of   the

settlement agreement.

                                          80.

      With the judgments on the counterclaims of Gibson and Exarhos

looming, Defendant Becerra and one or more of the other Defendants

expedited their efforts to ransack Cluster.

                                          81.

      In a Consent in Lieu of Meeting of the Board of Directors of

Cluster Technology Corporation dated June 17, 2003 (the “June 17,

2003 Consent”), without shareholder authority, the Debtor assigned

to Becerra the royalty payments from the sales of Polar Powder

product to pay off existing debt owed by Cluster to Becerra.                           A

true and correct copy of the June 17, 2003 Consent is attached

hereto as Exhibit “R”.

                                          82.

      In addition, in a letter dated June 23, 2003 from the Debtor’s

counsel, Stephen Dorvee, to Defendant Becerra (the “June 23, 2003

Dorvee     Letter”),   the      attorney        stated    that       they    would    be

“researching the best way to move the [950 P]atent out of Cluster

and into Garabaldi [sic] or to some other entity.”                          A true and

correct copy of the June 23, 2003 Dorvee Letter is attached hereto

as Exhibit “S”.

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                                        83.

      An earlier internal firm memo to Mr. Dorvee dated June 20,

2003 (the “June 20, 2003 Memo”) analyzed the potential transfer of

the DRS Intellectual Property Rights from the Debtor. In the memo,

the Debtor’s counsel analyzed the potential for a transfer of the

DRS   Intellectual    Property       Rights    to    be    deemed     a    fraudulent

conveyance or fraudulent transfer under state law and reviewed

potential alternatives under the circumstances to avoid such a

determination.      A true and correct copy of the June 20, 2003 Memo

is attached hereto as Exhibit “T”.

                                        84.

      Then, by a July 30, 2003 Resolution of the Board of Directors

(the “July 30, 2003 Resolution”), without shareholder authority,

the   Debtor   fraudulently       transferred       some   or   all       of   the   DRS

Intellectual Property Rights, including, an irrevocable license for

the 950 Patent, to Defendant NAM (the “Fifth Avoidable Transfer”).

A true and correct copy of the July 30, 2003 Resolution is attached

hereto as Exhibit “U”. The transfer was made without the knowledge

of Sheppard, and the Trustee believes that Sheppard and Defendant

Williams are likely to testify that they, consistent with their

fiduciary duties, would not have consented to such a transfer had

they been made fully aware of the intentions of the Defendant

Becerra and one or more of the other Defendants.                 As described in

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further detail below, the Fifth Avoidable Transfer is void or

voidable by the Trustee.

                                            85.

      Next, by a November 18, 2003 Resolution of the Board of

Directors (the “November 18, 2003 Resolution”), without shareholder

authority, the Debtor granted Becerra “all title and ownership of

all   Polar    Powder     product        (finished   or   otherwise)      equipment,

machinery, lease(s) . . .”              A true and correct copy of the November

18, 2003 Resolution is attached hereto as Exhibit “V”. The Trustee

believes that Sheppard and Defendant Williams are likely to testify

that they, consistent with their fiduciary duties, would not have

consented to such a transfer had they been made fully aware of the

intentions of the Defendant Becerra and one or more of the other

Defendants.

                                            86.

      Then in a December 22, 2003 Assignment of US Patent 6,152,950

and   Choses    in     Action     for    Patent   Infringement     (the     “Grabaldi

Assignment”),          without       shareholder      authority,      the      Debtor

fraudulently transferred some or all of the DRS Intellectual

Property      Rights    to      Defendant    Grabaldi     (the   “Sixth     Avoidable

Transfer”), another affiliated entity of Defendant Becerra, managed

by Defendant Becerra’s father-in-law, Defendant Paredes.                      A true

and correct copy of the Grabaldi Assignment is attached hereto as

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Exhibit “W”.        The Sixth Avoidable Transfer was purportedly made in

partial satisfaction of the debt owed to Defendant Grabaldi arising

out of its earlier purchase of the Quaker State Judgment.                          The

Trustee believes that Sheppard and Defendant Williams are likely to

testify that had they been given an opportunity to investigate and

been fully aware of the intentions of Defendant Becerra and one or

more of the other Defendants, they, consistent with their fiduciary

duties, would have taken steps to block this fraudulent transfer.

As described in further detail below, the Sixth Avoidable Transfer

is void or voidable by the Trustee.

                                          87.

        The   DRS    Intellectual       Property     Rights    would       again    be

transferred by Defendant Grabaldi, in concert with Becerra and one

or more of the other Defendants, to Defendant Cambria (the “Cambria

Transfer”).         As described in further detail below, the Cambria

Transfer is void or voidable by the Trustee.

                                          88.

        With all of Cluster’s assets dissipated and no remaining

funds, Defendant Becerra, in order to further delay and hinder the

enforcement remedies of Gibson and Exarhos as judgment creditors,

caused Cluster to file the instant Chapter 7 case on February 22,

2005.



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                                        89.

      Upon information and belief, even after the Petition Date,

Defendant Becerra and one or more of the other Defendants continued

to cause the fraudulent transfer of the DRS Intellectual Property

Rights and other intellectual property and patented technology

belonging to Cluster for their sole benefit and to the detriment of

the Debtor, its shareholders, and its creditors.

                                        90.

      In a letter authored by Defendant Shealy dated March 22, 2006

(the “Shealy Letter”), Shealy flaunts his credentials and writes,

on behalf of Defendant NAM, that the “Accu-SPINA System is the ONLY

model that is built upon and continues to improve upon my work” and

that he has “no financial interest in NAM but consult with only

them because of their integrity.”             A true and correct copy of the

Shealy Letter is attached hereto as Exhibit “X”.

                                        91.

      Defendant Shealy has known at all times that Defendants NAM

and Becerra, as well one or more of the other Defendants, have

caused the fraudulent transfer of that patented technology known as

the DRS System, as well as other intellectual property and patented

technology belonging to the Debtor.

                                        92.

      Defendant Shealy has aided and abetted and otherwise assisted

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Defendant Becerra, as well as one or more of the other Defendants,

in the conversion of the DRS System from its rightful owner,

Cluster.    Defendant Shealy has converted the DRS System, as have

Defendants Becerra and one ore more of the other Defendants as

described herein, to his own benefit, appearing in advertisements

that appear on a continuous basis on the internet.

                                        93.

      By his statements in the Shealy Letter, Defendant Shealy has

acknowledged that Defendant NAM is continuing to use patented

technology and intellectual property that belongs to Cluster.                 His

statements show the brazenness of the fraud, described in detail

below, that has been perpetrated by the Defendants upon the Debtor

and the Court.

 B. Avoidable Transfers of the DRS Intellectual Property Rights
     and Other Intellectual Property and Patented Technology

                                        94.

      As alluded to above, during the pendency of the First Cluster

Bankruptcy Case, during the period prior to the filing of the

Debtor’s current bankruptcy case, and subsequent to the Petition

Date, the DRS Intellectual Property Rights, as well as other

intellectual property and patented technology belonging to Cluster,

were the subject of at least eight (8) transfers, described in

detail below, engineered by or on behalf of Defendants Becerra and


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Mirman in concert with one or more of the other Defendants for

their sole benefit.          These transfers were made with the actual

intent to hinder, delay and defraud the Debtor’s shareholders and

creditors to which the Debtor was liable or became indebted to.

                                        95.

      The underlying fraudulent intent of the transfers described

below is evidenced, in particular, by the efforts of Defendant

Becerra, in concert with one or more of the other Defendants, after

the filing of the Debtor’s current bankruptcy case to knowingly

make false entries in the Debtor’s corporate minutes in violation

of 18 U.S.C. § 152(8).

                                        96.

      As described below, Defendant Becerra, in concert with one or

more of the Defendants, submitted to the Trustee forged corporate

documents in order to fabricate transfers of some or all of the DRS

Intellectual Property Rights to him and/or one or more of the

Defendants in order to mislead and deceive the Plaintiff and the

Bankruptcy Court.

                                        97.

      The underlying fraudulent intent of these transfers is also

evidenced by the June 23, 2003 Dorvee Letter which shows that

Defendant Becerra intended to “move the [950 P]atent out of Cluster

and into Garabaldi [sic] or to some other entity” for the sole

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benefit of one or more of the Defendants.             See Exhibit “S”.

                                        98.

       The June 20, 2003 Memo also evidences the intent of Defendant

Becerra and one ore more of the Defendants to fraudulently transfer

the DRS Intellectual Property Rights for their sole benefit.                  The

Memo    was   provided    to     Defendant    Becerra    in   the   context    of

discussions regarding the transfer of the DRS Intellectual Property

Rights.   See Exhibit “T”.        The June 23, 2003 Dorvee Letter and June

20, 2003 Memo show the ultimate goal of the Defendants to transfer

some of all of the DRS Intellectual Property Rights out of Cluster

by any means necessary for their sole benefit.

                                        99.

       Also, the May 24, 2001 Becerra Letter evidences the intent of

Defendant Becerra and one or more of the Defendants to fraudulently

transfer the DRS Intellectual Property Rights for their sole

benefit, regardless of the effect on the Debtor, its shareholders,

and its creditors.       See Exhibit “F”.

                                       100.

       In addition, the following “badges of fraud” evidence the

underlying fraudulent intent of the Transfers: (a) one or more of

the Transfers was made to an insider of the Debtor or to affiliates

of one or more of the Defendants who are insiders of the Debtor;

(b) before one or more of the Transfers, the Debtor had been sued

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or threatened with suit; (c) the Debtor did not receive reasonably

equivalent value, if any value, in exchange for one or more of the

Transfers; (d) the Debtor was insolvent or became insolvent shortly

after one or more of the Transfers was made; (e) one or more of the

Transfers occurred shortly before or after a substantial debt was

incurred; and (f) the Debtor transferred the essential assets of

the business to a lienor who transferred the assets to an insider

of the Debtor.

                                       101.

      In addition, for each such Transfer, the Debtor received less

than a reasonably equivalent value in exchange for such Transfer;

and, at the time each Transfer was made, the Debtor was insolvent

or became insolvent as a result of the transfer.

                                       102.

      Also, each of the Transfers constitutes a “transaction between

a corporation and 1 or more of its directors or officers, or

between a corporation and any other corporation, partnership,

association, or other organization in which 1 or more of its

directors or officers, are directors or officers, or have a

financial interest . . . ”

                                       103.

      With regard to each of the Transfers, Defendants Becerra and

Mirman, as directors of Cluster, failed to disclose to the Debtor’s

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Board, including, without limitation, directors Clark, Siegel,

Yeager, and Sheppard, and to the Debtor’s shareholders material

facts     regarding     their      relationship     or   interest    as    to   the

transactions.

                                         104.

        Each of the Transfers also constituted a sale, lease, or

exchange of all or substantially all of the Debtor’s property and

assets and were made without approval of Debtor’s shareholders.

                      1. The First Avoidable Transfer

                                         105.

        On May 27, 2001, during the pendency of the First Cluster

Bankruptcy Case and without authority of the court or the Debtor’s

shareholders, some or all of the DRS Intellectual Property Rights,

were transferred on behalf of the Debtor to Defendant Becerra (the

“First Avoidable Transfer”). See Exhibit “G”. The First Avoidable

Transfer was made for the sole benefit of Defendant Becerra and one

or more of the Defendants and was of no benefit to the Debtor.

                2. The First Forged Avoidable Transfer

                                         106.

        Subsequent to the filing of the Debtor’s current bankruptcy

case, or in contemplation thereof, Defendant Becerra realized that

the First Avoidable Transfer would be subject to avoidance by the

Trustee.      Thus, in violation of 18 U.S.C. § 152(8), Becerra

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falsified an entry in the Debtor’s corporate minutes in order to

mislead the Trustee and the Bankruptcy Court.

                                       107.

        In August 2000, the Debtor’s Board terminated Gibson and Diane

Levesque by a Resolution of the Board of Directors dated August 29,

2000 (the “Gibson Termination Resolution“). The Gibson Termination

Resolution was signed by Defendant Mirman. A true and correct copy

of the Gibson Termination Resolution is attached hereto as Exhibit

“Y”.

                                       108.

        Subsequent to the filing of the Debtor’s current bankruptcy

case, or in contemplation thereof, Defendant Becerra, in concert

with one or more of the Defendants, extracted the signature and

date lines from the Gibson Termination Resolution and combined it

with the body of the May 27, 2001 Resolution, fabricating a forged

document purporting to be a Resolution of the Board of Directors

dated August 29, 2000 (the “Forged August 29, 2000 Resolution”),

making it appear that the Debtor had transferred some or all of the

DRS Intellectual Property Rights to Becerra prior to the filing of

the First Cluster Bankruptcy Case (the “First Forged Avoidable

Transfer”).     A copy of the Forged August 29, 2000 Resolution is

attached hereto as Exhibit “Z”.           No such transfer occurred at that

time.

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                                       109.

      At the 341 Hearing on March 29, 2005, Defendant Williams,

appearing as the Debtor’s corporate representative, presented to

the Trustee what he purported to be all of the Debtor’s corporate

minutes and records.          The Forged August 29, 2000 Resolution was

included, but the May 27, 2001 Resolution was not.

                                       110.

      Subsequently, the Trustee obtained a copy of the May 27, 2001

Resolution and discovered the scheme of Defendant Becerra and one

or more of the Defendants to mislead him and the Bankruptcy Court

regarding when the subject transfer took place.

                                       111.

      Upon inspection, it is clear that the Forged August 29, 2000

Resolution is a forgery.

                                       112.

      As discussed above, the signature and date lines of the Forged

August 29, 2000 Resolution are identical to the signature and date

lines of the Gibson Termination Resolution, and the body of the

Forged August 29, 2000 Resolution is identical to the body of the

May 27, 2001 Resolution.

                                       113.

      Moreover,     the   Forged    August    29,   2000   Resolution     is   not

sequentially numbered in the same manner as the remainder of the

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Debtor’s corporate minutes and records.

                                       114.

      Also, the Forged August 29, 2000 Resolution was not produced

in the Gibson Litigation, where Defendant Becerra and one or more

of the Defendants produced what they purported to be all of the

Debtor’s minutes and corporate records.

                                       115.

      In addition, the DRS Intellectual Property Rights were listed

as an asset of the estate in the First Cluster Bankruptcy Case

after the date of the Forged August 29, 2000 Resolution.

                                       116.

      Moreover, as discussed above, on February 15, 2001, Defendant

Becerra, on behalf of Cluster, sent out copies of the Urgent Notice

letter attached hereto as Exhibit “B” advising customers and

suppliers of Cluster that Cluster had not sold or transferred any

product rights or intellectual property.

                                       117.

      In addition, in the Mirman Deposition on February 27, 2001,

subsequent to the date of the Forged August 29, 2000 Resolution,

Defendant Mirman testified, as the corporate representative of both

Cluster and UPT that Cluster had never attempted to sell or assign

the 950 Patent.     See Exhibit “C”.



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                                       118.

      Finally, on June 25, 2004, consistent with the February 15,

2001 Letter, Defendant Becerra testified in Case No. 00-3575,

styled Christopher Stewart v. Universal Pain Technology, Inc.,

pending in the Circuit Court of Jefferson County, Alabama (the

“Stewart Litigation”), that Cluster had not sold or transferred any

product rights or intellectual property of any kind as of February

15, 2001.    A true and correct copy of the relevant portion of the

transcript of Defendant Becerra’s testimony is attached hereto as

Exhibit “AA”.

                    3. The Second Avoidable Transfer

                                       119.

      On May 28, 2001, during the pendency of the First Cluster

Bankruptcy Case and without authority of the court or Debtor’s

shareholders, some or all of the DRS Intellectual Property Rights,

including, but not limited to, the manufacturing rights of the DRS

System, were transferred on behalf of the Debtor to Defendant NAM

(the “Second Avoidable Transfer”).             See Exhibit “H”.      The Second

Avoidable Transfer was made for the sole benefit of Defendant NAM

and one or more of the Defendants and was of no benefit to the

Debtor.




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               4. The Second Forged Avoidable Transfer

                                        120.

       As with the First Avoidable Transfer, subsequent to the filing

of the Debtor’s current bankruptcy case, or in contemplation

thereof, Defendant Becerra realized that the Second Avoidable

Transfer would be subject to avoidance by the Trustee.                      Thus, in

violation of 18 U.S.C. § 152(8), Defendant Becerra falsified an

entry in the Debtor’s corporate records in order to mislead the

Trustee and the Bankruptcy Court.

                                        121.

       According to a document produced by Defendant Becerra which

purports to be a letter from the Debtor’s Board dated November 23,

2000    (the   “Forged   November       23,     2000      Letter”),   the     Debtor

purportedly    transferred       some   or     all   of   the   DRS   Intellectual

Property Rights, including, but not limited to, the manufacturing

rights of the DRS System to Defendant NAM (the “Second Forged

Avoidable Transfer”).           This document is a forgery.                 No such

transfer occurred at that time.              A copy of the November 23, 2000

Letter is attached hereto as Exhibit “BB”.

                                        122.

       On the alleged date of the Second Forged Avoidable Transfer,

the First Cluster Bankruptcy Case was still pending, and the

presiding Bankruptcy Court authorized no such transfer.

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                                        123.

      Moreover, in the Mirman Deposition on February 27, 2001,

subsequent to the alleged date of the Second Forged Avoidable

Transfer, Defendant Mirman testified that as of that date, no

formal   agreement    to     transfer    any    rights   from   the   Debtor   to

Defendant NAM had been reached.               A true and correct copy of the

relevant portion of the Mirman Deposition is attached hereto as

Exhibit “CC”.

                                        124.

      Furthermore, Defendant Mirman testified in a deposition in AAA

Case No. 33311 324 03, styled Cluster Technology Corp., et al. v.

Gibson, et al. (the “Second Mirman Deposition”), that the signature

on the November 23, 2000 Letter was not his.               A true and correct

copy of the relevant portion of the Second Mirman Deposition is

attached hereto as Exhibit “DD”.

                                        125.

      In addition, in the Becerra May 24, 2001 Letter, subsequent to

the alleged date of the Second Forged Avoidable Transfer, Becerra

stated that an agreement had just been reached between the Debtor

and Defendant NAM one day earlier on May 23, 2001 to transfer

twelve (12) million shares of stock to NAM as compensation for a

lifetime technology licensing agreement for certain components of

the DRS.    See Exhibit “F”.         The Becerra May 24, 2001 Letter does

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not mention the Forged November 23, 2000 Letter or the Second

Forged Avoidable Transfer.

                                       126.

        Finally, on June 25, 2004, consistent with the February 15,

2001 Letter, Defendant Becerra testified in the Stewart Litigation

that Defendant NAM never acquired from the Debtor the rights

referenced in the Forged November 23, 2000 Letter.                Becerra also

testified that Cluster had not sold or transferred any product

rights or intellectual property of any kind as of February 15,

2001.     See Exhibit “EE”.

                    5. The Third Avoidable Transfer

                                       127.

        On June 15, 2001, contemporaneously with the reinstatement of

Defendants Becerra and Williams to the Debtor’s Board of Directors,

without shareholder authority, some or all of the DRS Intellectual

Property Rights, including, but not limited to, the manufacturing

rights of the DRS System, were again transferred on behalf of the

Debtor to Defendant NAM (the “Third Avoidable Transfer”).                     See

Exhibit “J”.     The Third Avoidable Transfer was made for the sole

benefit of Defendant NAM and one or more of the Defendants and was

of no benefit to the Debtor.




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                             6. The Adagen Transfer

                                       128.

      At or around the same time as the Second and Third Avoidable

Transfers described above, Defendant NAM, in concert with Defendant

Adagen and one or more of the other Defendants, transferred some or

all of the manufacturing and distributing rights for the DRS System

to Adagen (the “Adagen Transfer”).

                                       129.

      Defendant     Adagen      subsequently     distributed     modified     DRS

Systems, which were marketed and sold by Adagen as the Accu-SPINA

System.   Adagen also sold DRS Systems.

                                       130.

      The Accu-SPINA System is based upon the DRS System created by

Defendants Becerra and Shealy, Joseph Medeiros, and Charity Martin

and assigned to Cluster.          The Accu-SPINA System consists of a DRS

System fitted with a control panel and decompression unit allegedly

invented by Defendant NAM.

                                       131.

      Defendant Adagen was aware of the origins of the Accu-SPINA

System and that it was based upon the DRS System at the time it

began to market and sell the Accu-SPINA System.

                                       132.

      Through its connections with Defendants Becerra and NAM,

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Defendant   Adagen     had     intimate     knowledge    of   the    dealings      and

litigation between Defendant NAM and Cluster concerning the DRS

Intellectual Property Rights at the time it began selling the Accu-

SPINA System.

                                        133.

      In addition, Defendant Adagen has actively assisted Defendants

Becerra and NAM in perpetrating the illegal transfer and taking of

the DRS Intellectual Property Rights from Cluster. In violation of

18 U.S.C. § 157(3), in an undated letter to one of its customers,

Adagen misrepresented that on March 4, 2001 the Bankruptcy Court in

the First Cluster Bankruptcy Case had awarded NAM all manufacturing

and intellectual rights to the DRS System.                See Exhibit “D”.         The

Bankruptcy Court in the First Cluster Bankruptcy Case made no such

award.

                                        134.

      The   letter     also      markets    the     Accu-SPINA      System    as    an

improvement upon the DRS System.                The purpose of the letter is to

legitimize the sales of the Accu-SPINA System by Defendants NAM and

Adagen and to ensure that customers continue to buy the Accu-SPINA

System from NAM and Adagen, not the DRS System.

                                        135.

      In concert with Defendants NAM, Becerra, and one or more of

the other Defendants, Defendant Adagen continued to sell the Accu-

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SPINA System for its benefit and the benefit of one or more of the

Defendants.         The   sale    of   the     Accu-SPINA     System,   in    direct

competition with sales of the DRS System, has been detrimental to

the Debtor, its shareholders, and its creditors.

                                        136.

      Given    Defendant       Adagen’s      complicity     in   the    scheme     of

Defendants Becerra, NAM, and one or more of the other Defendants to

misappropriate the DRS Intellectual Property Rights from Cluster,

Adagen did not receive the DRS Intellectual Property Rights in good

faith. Moreover, Adagen had knowledge of the voidability of the

transfer of the DRS Intellectual Property Rights to NAM.

                     7. The Fourth Avoidable Transfer

                                        137.

      On January 6, 2003, without shareholder authority, some or all

of the DRS Intellectual Property Rights, including, but not limited

to,   a   cervical    traction      accessory     for   the    DRS   System,     were

transferred by Defendants Becerra and Mirman on behalf of the

Debtor to Defendant NAM (the “Fourth Avoidable Transfer”).                        See

Exhibit “P”.    The Fourth Avoidable Transfer was made for the sole

benefit of Defendant NAM and one or more of the Defendants and was

of no benefit to the Debtor.

                      8. The Fifth Avoidable Transfer

                                        138.

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      As discussed above, on June 30, 2003, the parties in the

Gibson Litigation entered into a settlement agreement, and in

connection therewith, Gibson and Exarhos were awarded judgments

against Cluster and the other plaintiffs.               Gibson and Exarhos were

entitled to execute upon the judgments in the event of a breach of

the settlement agreement.

                                        139.

      Shortly thereafter, on July 30, 2003, without shareholder

authority, some or all of the DRS Intellectual Property Rights,

including,    an    irrevocable        license    for   the    950    Patent,     were

transferred on behalf of the Debtor to Defendant NAM (the “Fifth

Avoidable    Transfer”).         See    Exhibit   “U”.        The    July   30,   2003

Resolution refers to the Forged November 23, 2000 Letter purporting

to transfer manufacturing rights for the DRS System to Defendant

NAM, but it does not reference the transfer of the manufacturing

rights pursuant to the May 28, 2001 Consent.                  The Fifth Avoidable

Transfer was made for the sole benefit of Defendant NAM and one or

more of the Defendants and was of no benefit to the Debtor.

                      9. The Polar Powder Transfers

                                        140.

      On June 17, 2003, without shareholder authority, the Debtor

assigned to Becerra the royalty payments from the sales of Polar

Powder products to pay off existing debt owed by Cluster to

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Becerra.   See Exhibit “R”.

                                       141.

      Subsequently,      on    November    18,   2003,   without     shareholder

authority, the Debtor transferred all title and ownership of all

Polar Powder products, including, without limitation, machinery and

leases and the right to receive royalties, to Defendant Becerra.

See Exhibit “V”.

                                       142.

      These transfers of the Polar Powder Assets (the “Polar Powder

Transfers”) were made for the sole benefit of Defendant Becerra and

one or more of the Defendants and were of no benefit to the Debtor.

                    10. The Sixth Avoidable Transfer

                                       143.

      On December 22, 2003, without shareholder authority, some or

all of the DRS Intellectual Property Rights were assigned on behalf

of   the   Debtor   to    Defendant       Grabaldi   (the   “Sixth       Avoidable

Transfer”).    See Exhibit “W”.           The Sixth Avoidable Transfer was

purportedly made in partial satisfaction of a debt owed to Grabaldi

in the amount of $532,298.04 in connection with Grabaldi’s purchase

of the Quaker State Judgment in December 2002.               See Exhibit “W”.

The Sixth Avoidable Transfer was made for the sole benefit of

Grabaldi and one or more of the Defendants and was of no benefit to

the Debtor.

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                                        144.

      The assignment was recorded in the U.S. Patent and Trademark

Office on January 23, 2004.

                                        145.

      Given Defendant Mirman’s testimony in the Mirman Deposition

that the intellectual property of Cluster, including the 950

Patent, had a value between five and twenty-five million dollars,

the assignment of the DRS Intellectual Property Rights in partial

satisfaction the judgment debt to Defendant Grabaldi in the amount

of $532,298.04 did not provide reasonably equivalent value to the

Debtor.

                         11. The Cambria Transfer

                                        146.

      On March 29, 2005, at the 341 Meeting of Creditors, Defendant

Williams testified that subsequent to the Sixth Avoidable Transfer,

some or all of the DRS Intellectual Property Rights were assigned

and/or transferred by Defendant Grabaldi, acting in concert with

one or more of the Defendants to Defendant Cambria (the “Cambria

Transfer”). A true and correct copy of the relevant portion of the

transcript of Defendant Williams’ testimony is attached hereto as

Exhibit “EE”.       The Cambria Transfer was made for the sole benefit

of Defendant Cambria and one or more of the Defendants and was of

no benefit to the Debtor.

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                          12. The Subsequent and
                    Post-Petition Avoidable Transfers

                                        147.

      Upon   information       and    belief,    some    or    all   of     the   DRS

Intellectual Property Rights may have been further assigned and/or

transferred    to   Defendant        Becerra    and/or   one   or    more    of   the

Defendants prior to the Petition Date (the “Subsequent Avoidable

Transfers”) and/or subsequent to the Petition Date (the “Post-

Petition Avoidable Transfers”).           Upon information and belief, the

Subsequent Avoidable Transfers and the Post-Petition Avoidable

Transfers were made for the sole benefit of Defendant Becerra and

one or more of the Defendants and were of no benefit to the Debtor.

        C. Unauthorized Use of Other Intellectual Property

                                        148.

      On January 10, 2006, the U.S. Patent and Trademark Office

issued U.S. Patent No. 6,984,217 (the “217 Patent”).                      Defendant

Becerra was listed among the inventors and Defendant NAM was listed

as the assignee of the 217 Patent.

                                        149.

      Patents applied for by and/or issued to one or more of the

Defendants, including, without limitation, the 217 Patent, and upon

information and belief, other patents applied for and/or obtained

in the United States and/or internationally, contain, use, and/or


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are based upon drawings, diagrams, patents, and/or intellectual

property which are property of the Debtor, including, without

limitation, the DRS Intellectual Property Rights.              These drawings,

diagrams, patents, and/or intellectual property belonging to the

Debtor   were   stolen   from      the    Debtor   and/or   used   without    the

authorization of the Debtor.

                              COUNT I
  (Avoidance and Recovery of Fraudulent Transfers pursuant to 11
U.S.C. §§ 544(b) and 550(a) and O.C.G.A. §§ 18-2-22(ii) or (iii))

                                         150.

      Plaintiff realleges paragraphs 1 through 149 above as if fully

set forth herein.

                                         151.

      The First, Second, and Third Avoidable Transfers and the

Adagen Transfer constitute conveyances of property of the Debtor.

                                         152.

      Defendants Becerra, Mirman, NAM, and Adagen, in concert with

one or more of the Defendants, caused the Debtor to make the First,

Second, and Third Avoidable Transfers and further caused the Adagen

Transfer with the intention to defraud or delay creditors and

shareholders of the Debtor, and Defendants Becerra, Mirman, NAM,

and Adagen and/or one or more of the other Defendants knew or

should have known that the First, Second, and Third Avoidable

Transfers and the Adagen Transfer were made with the intention to

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defraud or delay creditors and shareholders of the Debtor.                      The

aforesaid actions of these Defendants were taken in bad faith.

                                         153.

      As described above, the underlying fraudulent intent of the

First,     Second,   and   Third     Avoidable    Transfers    and   the    Adagen

Transfer is evidenced by the following, among other things:

      a)     the First, Second, and Third Avoidable Transfers and the

             Adagen Transfer were made to insiders of the Debtor or

             affiliates of one or more of the Defendants who are

             insiders of the Debtor;

      b)     the First and Second Avoidable Transfers were made during

             the pendency of the First Cluster Bankruptcy Case without

             court authority;

      c)     subsequent       to   the   filing    of   the   Debtor’s     current

             bankruptcy case, Defendant Becerra, in concert with one

             or more of the Defendants knowingly made false entries in

             the Debtor’s corporate minutes in violation of 11 U.S.C.

             § 152(8);

      d)     as evidenced by the June 23, 2003 Dorvee Letter and the

             June 20, 2003 Memo, Defendant Becerra and one or more of

             the Defendants intended to transfer the DRS Intellectual

             Property Rights out of Cluster by any means necessary for

             their sole benefit;

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      e)      the Debtor did not receive reasonably equivalent value,

              if any value, in exchange for the First, Second, and

              Third Avoidable Transfers and the Adagen Transfer; and

      f)      the Debtor was insolvent or became insolvent shortly

              after the First, Second, and Third Avoidable Transfers

              and the Adagen Transfer were made.

                                           154.

      In the alternative, the First, Second, and Third Avoidable

Transfers and the Adagen Transfer constituted voluntary conveyances

and were made to or for the sole benefit of Defendants Becerra,

NAM, and Adagen and/or one or more of the other Defendants.                          The

Debtor did not receive valuable consideration for the First,

Second, and Third Avoidable Transfers and the Adagen Transfer.

                                           155.

      The Debtor was insolvent at the time the First, Second, and

Third Avoidable Transfers and the Adagen Transfer were made.

                                           156.

      Based     upon    the     foregoing,       the   First,   Second,    and   Third

Avoidable Transfers and the Adagen Transfer are null and void as to

the   Trustee    pursuant        to   11   U.S.C.      §   544(b)   and   O.C.G.A.    §§

18-2-22(ii) or (iii).

                                           157.

      In accordance with 11 U.S.C. § 550(a), the Trustee may avoid

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the First, Second, and Third Avoidable Transfers and the Adagen

Transfer and recover from Defendants Becerra, NAM, and Adagen

and/or one or more of the other Defendants the DRS Intellectual

Property    Rights      to      the    extent       they    were       transferred.

Alternatively, the Trustee may recover the value of the DRS

Intellectual Property Rights from Defendants Becerra, NAM, and

Adagen and/or one or more of the other Defendants.

                                COUNT II
           (Avoidance and Recovery of Fraudulent Transfers
              pursuant to 11 U.S.C. §§ 544(b) and 550(a)
           and F.S.A. §§ 726.105(1)(a) or (b) and 726.108)
                          (Alternative Count)

                                       158.

      Plaintiff realleges paragraphs 1 through 149 above as if fully

set forth herein.

                                       159.

      The First, Second, and Third Avoidable Transfers and the

Adagen Transfer were made to Defendants Becerra, NAM, and Adagen

and/or one or more of the other Defendants.

                                       160.

      The First, Second, and Third Avoidable Transfers and the

Adagen Transfer were made with the actual intent to hinder, delay,

or defraud creditors and shareholders of the Debtor.

                                       161.

      As   described    in      further        detail   above,   the     underlying

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fraudulent    intent     of    the   First,    Second,    and    Third    Avoidable

Transfers and the Adagen Transfer is evidenced by the following,

among other things:

      a)     the First, Second, and Third Avoidable Transfers and the

             Adagen Transfer were made to insiders of the Debtor or

             affiliates of one or more of the Defendants who are

             insiders of the Debtor;

      b)     the First and Second Avoidable Transfers were made during

             the pendency of the First Cluster Bankruptcy Case without

             court authority;

      c)     subsequent       to   the   filing    of    the    Debtor’s    current

             bankruptcy case, Defendant Becerra, in concert with one

             or more of the Defendants knowingly made false entries in

             the Debtor’s corporate minutes in violation of 11 U.S.C.

             § 152(8);

      d)     as evidenced by the June 23, 2003 Dorvee Letter and the

             June 20, 2003 Memo, Defendant Becerra and one or more of

             the Defendants intended to transfer the DRS Intellectual

             Property Rights out of Cluster by any means necessary for

             their sole benefit;

      e)     the Debtor did not receive reasonably equivalent value,

             if any value, in exchange for the First, Second, and

             Third Avoidable Transfers and the Adagen Transfer; and

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      f)      the Debtor was insolvent or became insolvent shortly

              after the First, Second, and Third Avoidable Transfers

              and the Adagen Transfer were made.

                                         162.

      In the alternative, Debtor received less than reasonably

equivalent value in exchange for the First, Second, and Third

Avoidable Transfers and the Adagen Transfer and Debtor was engaged

or was about to engage in a business or a transaction for which the

remaining assets of Debtor were unreasonably small in relation to

the business or transaction at the time of the First, Second, and

Third Avoidable Transfers and the Adagen Transfer; or the Debtor

intended to incur, or believed or reasonably should have believed

that it would incur, debts beyond its ability to pay as they became

due at the time of the First, Second, and Third Avoidable Transfers

and the Adagen Transfer.

                                         163.

      Based    upon    the     foregoing,      the   First,   Second,   and   Third

Avoidable Transfers and the Adagen Transfer constitute avoidable

fraudulent transfers pursuant to 11 U.S.C. § 544(b) and F.S.A. §§

726.105(1)(a) or (b) and 726.108.

                                         164.

      In accordance with 11 U.S.C. § 550(a), the Trustee may avoid

the First, Second, and Third Avoidable Transfers and the Adagen

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Transfer and recover from Defendants Becerra, NAM, and Adagen

and/or one or more of the other Defendants the DRS Intellectual

Property     Rights      to     the    extent     they    were     transferred.

Alternatively, the Trustee may recover the value of the DRS

Intellectual Property Rights from Defendants Becerra, NAM, and

Adagen and/or one or more of the other Defendants.

                               COUNT III
           (Avoidance and Recovery of Fraudulent Transfers
              pursuant to 11 U.S.C. §§ 544(b) and 550(a)
         and O.C.G.A. §§ 18-2-74(a)(1) or (2) and 18-2-77 or
             F.S.A. §§ 726.105(1)(a) or (b) and 726.108)

                                       165.

      Plaintiff realleges paragraphs 1 through 149 above as if fully

set forth herein.

                                       166.

      The Fourth, Fifth, Sixth, and Subsequent Avoidable Transfers

and the Polar Powder and Cambria Transfers, were made to Defendants

NAM, Becerra, Grabaldi, Cambria, and/or one or more of the other

Defendants.

                                       167.

      The Fourth, Fifth, Sixth, and Subsequent Avoidable Transfers

and the Polar Powder and Cambria Transfers were made with the

actual     intent   to   hinder,      delay,    or   defraud     creditors    and

shareholders of the Debtor.



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                                         168.

      As described above, the underlying fraudulent intent of the

Fourth, Fifth, Sixth, and Subsequent Avoidable Transfers and the

Polar Powder and Cambria Transfers is evidenced by the following,

among other things:

      a)   the      Fourth,     Fifth,   Sixth,    and    Subsequent      Avoidable

           Transfers and the Polar Powder and Cambria Transfers were

           made to insiders of the Debtor or affiliates of one or

           more of the Defendants who are insiders of the Debtor;

      b)   subsequent         to   the   filing    of    the   Debtor’s     current

           bankruptcy case, Defendant Becerra, in concert with one

           or more of the Defendants knowingly made false entries in

           the Debtor’s corporate minutes in violation of 11 U.S.C.

           § 152(8);

      c)   as evidenced by the June 23, 2003 Dorvee Letter and the

           June 20, 2003 Memo, Defendant Becerra and one or more of

           the Defendants intended to transfer the DRS Intellectual

           Property Rights out of Cluster by any means necessary for

           their sole benefit;

      d)   the Debtor did not receive reasonably equivalent value,

           if any value, in exchange for the Fourth, Fifth, Sixth,

           and Subsequent Avoidable Transfers and the Polar Powder

           and Cambria Transfers;

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      e)   the Debtor was insolvent or became insolvent shortly

           after the Fourth, Fifth, Sixth, and Subsequent Avoidable

           Transfers and the Polar Powder and Cambria Transfers were

           made;

      f)   before the Fourth, Fifth, Sixth, and Subsequent Avoidable

           Transfers and the Polar Powder and Cambria Transfers, the

           Debtor had been sued or threatened with suit, including,

           without limitation, the Gibson and Axiom Litigations;

      g)   the      Fourth,     Fifth,   Sixth,     and     Subsequent     Avoidable

           Transfers and the Polar Powder and Cambria Transfers

           occurred shortly before or after a substantial debt was

           incurred, including, without limitation, the entry of

           judgments in favor of Gibson and Exarhos against the

           Debtor in the Gibson Litigation; and

      h)   the Sixth Avoidable Transfer constitutes a transfer of

           the      essential     assets    of    the     business    to   a   lienor,

           Defendant      Grabaldi,        as    holder    of   the   Quaker      State

           Judgment, who transferred the assets to insiders of the

           Debtor.

                                         169.

      In the alternative, Debtor received less than reasonably

equivalent value in exchange for the Fourth, Fifth, Sixth, and

Subsequent Avoidable Transfers and the Polar Powder and Cambria

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Transfers and Debtor was engaged or was about to engage in a

business or a transaction for which the remaining assets of Debtor

were unreasonably small in relation to the business or transaction

at the time of the Fourth, Fifth, Sixth, and Subsequent Avoidable

Transfers and the Polar Powder and Cambria Transfers; or the Debtor

intended to incur, or believed or reasonably should have believed

that it would incur, debts beyond its ability to pay as they became

due at the time of the Fourth, Fifth, Sixth, and Subsequent

Avoidable Transfers and the Polar Powder and Cambria Transfers.

                                       170.

      Based upon the foregoing, the Fourth, Fifth, Sixth, and

Subsequent Avoidable Transfers and the Polar Powder and Cambria

Transfers constitute avoidable fraudulent transfers pursuant to 11

U.S.C. § 544(b) and O.C.G.A. §§ 18-2-74(a)(1) or (2) and 18-2-77 or

F.S.A. §§ 726.105(1)(a) or (b) and 726.108.

                                       171.

      In accordance with 11 U.S.C. § 550(a), the Trustee may avoid

the Fourth, Fifth, Sixth, and Subsequent Avoidable Transfers and

the Polar Powder and Cambria Transfers and recover from Defendants

NAM, Becerra, Grabaldi, Cambria, and/or one or more of the other

Defendants the DRS Intellectual Property Rights and the Polar

Powder assets to the extent they were transferred.              Alternatively,

the Trustee may recover the value of the DRS Intellectual Property

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Rights and the Polar Powder Rights from Defendants NAM, Becerra,

Grabaldi, Cambria, and/or one or more of the other Defendants.

                                 COUNT IV
            (Avoidance and Recovery of Fraudulent Transfers
               pursuant to 11 U.S.C. §§ 544(b) and 550(a)
                and O.C.G.A. §§ 18-2-75(b) and 18-2-77 or
                    F.S.A. §§ 726.106(2) and 726.108)
                           (Alternative Count)

                                       172.

        Plaintiff realleges paragraphs 1 through 149 above as if fully

set forth herein.

                                       173.

        The Sixth Avoidable Transfer was made to Defendant Grabaldi,

an insider within the meaning of O.C.G.A. § 18-2-71(b) or F.S.A. §

726.106(2), for an antecedent debt.

                                       174.

        Defendant Grabaldi is a creditor of the Debtor whose claim

against the Debtor arose before the Sixth Avoidable Transfer was

made.



                                       175.

        The Debtor was insolvent at the time the Sixth Avoidable

Transfer was made.

                                       176.

        Defendant Grabaldi had reasonable cause to believe the Debtor


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was insolvent at the time the Sixth Avoidable Transfer was made.

                                        177.

      Based   upon    the      foregoing,     the   Sixth   Avoidable     Transfer

constitutes an avoidable fraudulent transfers pursuant to 11 U.S.C.

§ 544(b) and O.C.G.A. §§ 18-2-75(b) and 18-2-77 or F.S.A. §§

726.106(2) and 726.108.

                                        178.

      In accordance with 11 U.S.C. § 550(a), the Trustee may avoid

the Sixth Avoidable Transfer and recover from Defendant Grabaldi

the DRS Intellectual Property Rights to the extent they were

transferred.    Alternatively, the Trustee may recover the value of

the DRS Intellectual Property Rights from Defendant Grabaldi.

                              COUNT V
          (Avoidance and Recovery of Fraudulent Transfers
      pursuant to 11 U.S.C. §§ 548(a)(1)(A) or(B) and 550(a)
                        (Alternative Count)

                                        179.

      Plaintiff realleges paragraphs 1 through 149 above as if fully

set forth herein.

                                        180.

      The Subsequent Avoidable Transfers and the Cambria Transfer

constitute transfers of an interest in property of the Debtor.

                                        181.

      The Subsequent Avoidable Transfers and the Cambria Transfer


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were made to or for the sole benefit of Defendant Cambria and

Defendant Becerra and/or one or more of the other Defendants.

                                         182.

      The Subsequent Avoidable Transfers and the Cambria Transfer

were made with the actual intent to hinder, delay, or defraud an

entity or entities to which the Debtor was or became, on or after

the dates the Subsequent Avoidable Transfers and the Cambria

Transfer were made, indebted.

                                         183.

      As described above, the underlying fraudulent intent of the

Subsequent     Avoidable       Transfers       and    the   Cambria     Transfer    is

evidenced by the following, among other things:

      a)     the    Subsequent      Avoidable        Transfers    and   the   Cambria

             Transfer were made to an insider of the Debtor or

             affiliates of one or more of the Defendants who are

             insiders of the Debtor;

      b)     subsequent       to   the   filing       of    the   Debtor’s    current

             bankruptcy case, Defendant Becerra, in concert with one

             or more of the Defendants knowingly made false entries in

             the Debtor’s corporate minutes in violation of 11 U.S.C.

             § 152(8);

      c)     as evidenced by the June 23, 2003 Dorvee Letter and the

             June 20, 2003 Memo, Defendant Becerra and one or more of

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           the Defendants intended to transfer the DRS Intellectual

           Property Rights out of Cluster by any means necessary for

           their sole benefit;

      d)   the Debtor did not receive reasonably equivalent value,

           if any value, in exchange for the Subsequent Avoidable

           Transfers and the Cambria Transfer;

      e)   the Debtor was insolvent or became insolvent shortly

           after the Subsequent Avoidable Transfers and the Cambria

           Transfer were made;

      f)   before the Subsequent Avoidable Transfers and the Cambria

           Transfer, the Debtor had been sued or threatened with

           suit, including, without limitation, the Gibson and Axiom

           Litigations; and

      g)   the      Subsequent      Avoidable    Transfers    and   the   Cambria

           Transfer occurred shortly before or after a substantial

           debt was incurred, including, without limitation, the

           entry of judgments in favor of Gibson and Exarhos against

           the Debtor in the Gibson Litigation.

                                        184.

      In the alternative, Debtor received less than reasonably

equivalent value in exchange for the Subsequent Avoidable Transfers

and the Cambria Transfer and the Debtor was insolvent, or became

insolvent, on the dates the Subsequent Avoidable Transfers and the

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Cambria Transfer were made or as a result of the Subsequent

Avoidable Transfers and the Cambria Transfer; or the Debtor was

engaged in business or a transaction, or was about to engage in

business or a transaction, for which any property remaining with

Debtor was an unreasonably small capital at the time of the

Subsequent Avoidable Transfers and the Cambria Transfer; or Debtor

intended to incur, or believed that it would incur, debts beyond

its ability to pay as such debts matured at the time of the

Subsequent Avoidable Transfers and the Cambria Transfer.

                                       185.

      To the extent the Subsequent Avoidable Transfers and the

Cambria Transfer occurred within one year prior to the Petition

Date, based upon the foregoing, the Subsequent Avoidable Transfers

and the Cambria Transfer constitute avoidable fraudulent transfers

pursuant to 11 U.S.C. § 548(a)(1)(A) or (B).

                                       186.

      In accordance with 11 U.S.C. § 550(a), the Trustee may avoid

the Subsequent Avoidable Transfers and the Cambria Transfer and

recover from Defendant Cambria and Defendant Becerra and/or one or

more of the other Defendants the DRS Intellectual Property Rights

to the extent they were transferred.             Alternatively, the Trustee

may recover the value of the DRS Intellectual Property Rights from

Defendant Cambria and Defendant Becerra and/or one or more of the

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other Defendants.

                             COUNT VI
 (Avoidance and Recovery of Unauthorized Postpetition Transfers
           pursuant to 11 U.S.C. §§ 549(a) and 550(a))

                                       187.

      Plaintiff realleges paragraphs 1 through 149 above as if fully

set forth herein.

                                       188.

      The Post-Petition Avoidable Transfers were made without Court

approval and were not authorized under any provisions of the

Bankruptcy Code.

                                       189.

      Accordingly, Plaintiff may avoid said transfers pursuant to 11

U.S.C. § 549(a).

                                       190.

      In accordance with 11 U.S.C. § 550(a), the Trustee may avoid

the Post-Petition Avoidable Transfers and recover from Defendant

Becerra and/or one or more of the Defendants the DRS Intellectual

Property    Rights      to      the    extent     they    were     transferred.

Alternatively, the Trustee may recover the value of the DRS

Intellectual Property Rights from Defendant Becerra and/or one or

more of the Defendants.




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                               COUNT VII
                (Turnover pursuant to 11 U.S.C. § 542)
                                       191.

      Plaintiff realleges paragraphs 1 through 149 above as if fully

set forth herein.

                                       192.

      The drawings, diagrams, patents, and/or intellectual property

which are contained and/or used in patents applied for by and/or

issued to one or more of the Defendants, including, without

limitation, the 217 Patent, and upon information and belief other

patents   applied    for     and/or    granted   in   the   United   States    or

internationally, are property of the estate pursuant to 11 U.S.C.

§ 541.    One or more of the Defendants have retained possession of

said drawings, diagrams, patents, and/or intellectual property

despite demand for turnover.

                                       193.

      Pursuant to 11 U.S.C. § 542, the Debtor is entitled to

turnover of this property of the estate.                    Alternatively, the

Trustee may recover the value of said drawings, diagrams, patents,

and/or intellectual property, and all interest and rights thereto

from one or more of the Defendants.




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                            COUNT VIII
 (Conversion by Defendants Becerra, Mirman, Narlow, NAM, Adagen,
                     vFinance, and Grabaldi)

                                       194.

      Plaintiff realleges paragraphs 1 through 149 above as if fully

set forth herein.

                                       195.

      Defendants Becerra and Mirman transferred the DRS Intellectual

Property Rights, the Polar Powder Assets, and other intellectual

property and patented technology belonging to the Debtor, without

Debtor receiving any benefit for such transfer.

                                       196.

      Defendants Becerra and Mirman transferred such intellectual

property to Defendant NAM, as well as certain other rights to

Defendants Adagen, vFinance, and Grabaldi.             Defendants Becerra and

Mirman each owned or controlled the various Corporate Defendants.

                                       197.

      No consideration was provided to Debtor for the transfer of

the intellectual property.

                                       198.

      Debtor suffered damages that are not yet fully determined,

however, based upon admissions by Defendant Mirman, the value of

the   stolen   intellectual        property    and   the   products      that   are

developed therefrom exceed more than $25,000,000.

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                                        199.

      As a direct and proximate result of the conversion by these

Defendants, the Debtor has suffered losses of $25,000,000.

                                   COUNT IX
                    (Breach of Fiduciary Duties Asserted
                         Against Becerra and Mirman)

                                        200.

      Plaintiff realleges paragraphs 1 through 149 above as if fully

set forth herein.

                                        201.

      As directors and officers of the Debtor, Defendants Becerra

and Mirman owed fiduciary duties to Cluster to act with the utmost

good faith, loyalty, fair dealing, and due care toward Cluster and

in furtherance of the best interests of Cluster.

                                        202.

      Defendants Becerra and Mirman breached their fiduciary duties

to Cluster by failing to act in good faith, by breaching their duty

of loyalty, by breaching their duty of fair dealing, by breaching

their duty of due care, and by failing to act in the best interests

of Cluster.

                                        203.

      Defendants Becerra and Mirman breached their fiduciary duties

to Cluster by, among other things, by rendering Cluster insolvent,

by improperly disposing, dissipating, and/or diverting Cluster's

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assets while Cluster was in the vicinity of insolvency or was

insolvent, by improperly disposing, dissipating, and/or diverting

Cluster's assets without properly informing themselves with regard

to the actions they were taking and the resulting effects on

Cluster, by breaching their fiduciary duty of loyalty by disposing,

dissipating, and/or diverting Cluster's assets for the benefit of

themselves or their relatives or friends or affiliated companies or

for the benefit of certain preferred creditors, and by engaging in

transactions with insiders that were unfair to Cluster.                  By way of

blatant self dealing transactions, Defendants Becerra and Mirman

orchestrated a scheme to loot Cluster and its subsidiaries of their

assets and caused the Debtor to release them from liability for

their actions.

                                       204.

      Defendants Becerra and Mirman breached their fiduciary duties

to Cluster by taking actions which rendered Cluster insolvent.

                                       205.

      Defendants Becerra and Mirman consistently failed to develop

reasonable business plans for the current and future operations of

Cluster, instead, making certain only that they would personally

profit.    Had they acted reasonably, and evaluated the financial

condition of Cluster, it is likely Cluster would have reorganized

prior to its Chapter 7 filing, thereby preserving its cash,

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stemming its losses, and allowing Cluster to satisfy a greater

portion of its debts otherwise.

           Diverting, Dissipating, and/or Disposing of Assets

                                       206.

      Defendants Becerra and Mirman breached their fiduciary duties

by, among other things, committing the conduct described above and

summarized below:

      a)     allowing Cluster to enter employment agreements that were

             not in the best interest of the company, but that only

             came about as a result of the self interest of these

             Defendants;

      b)     causing Cluster to issue stock to individuals, including

             these Defendants, when no legitimate basis existed for

             such issuance, nor was there any legitimate consideration

             for the issuance of such stock;

      c)     creating competing businesses;

      d)     Misappropriating the technology and trade secrets that

             were the property of the Debtor;

      e)     causing the DRS Intellectual Property Rights and other

             intellectual property belonging to the Debtor to be

             fraudulently transferred;

      f)     causing the assets of the Debtor to be fraudulently

             transferred;

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      g)   causing the transfer of Polar Powder trademark to a

           company owned and controlled by Defendant Becerra.

                                       207.

      Defendants Becerra and Mirman breached their fiduciary duties

to Cluster by failing to investigate, consider, and assess the

prospective economic effect such diversion, dissipation, and/or

disposition of assets would have on Cluster.

                                       208.

      Defendants Becerra and Mirman, knowingly and in bad faith, and

for   their   own    interest,       assisted     in   the   formulation      and

consummation of the schemes to divert, dissipate, and/or dispose of

the assets of Cluster when they knew or were reckless in not

knowing that Cluster was insolvent or would be rendered insolvent

as a result of such diversion, dissipation, and/or disposition and

that their conduct would result in injury to Cluster.

                                     Damages

                                       209.

      As a result of the foregoing breaches of their fiduciary

duties, Cluster was damaged in an amount not yet capable of being

precisely ascertained, but which will be proven at trial.

                                       210.

      As a result of the foregoing, Defendants Becerra and Mirman

are liable to Cluster's estate for actual damages in an amount to

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be determined at trial.

                              COUNT X
      (Breach of Fiduciary Duties Owed to Creditors Asserted
                    Against Becerra and Mirman)

                                        211.

      Plaintiff realleges paragraphs 1 through 210 above as if fully

set forth herein.

                                        212.

      By virtue of Cluster's insolvency, Defendants Becerra’s and

Mirman’s fiduciary duties extended to, and for the benefit of,

Cluster's creditors.

                                        213.

      As directors and officers of Cluster, Defendants Becerra and

Mirman owed fiduciary duties to Cluster's creditors to act with the

utmost good faith, loyalty, fair dealing, and due care toward the

creditors    and     in   furtherance      of    the   best    interests    of     the

creditors.

                                        214.

      Defendants Becerra and Mirman breached their fiduciary duties

to   Cluster's      creditors     by   failing    to   act    in   good   faith,    by

breaching their duty of loyalty, by breaching their duty of fair

dealing, by breaching their duty of due care, and by failing to act

in the best interests of Cluster's creditors.



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                                        215.

      Defendants Becerra and Mirman breached their fiduciary duties

to Cluster's creditors by, among other things, by rendering Cluster

insolvent, by improperly diverting, dissipating, and/or disposing

of Cluster's assets while Cluster was in the vicinity of insolvency

or was insolvent, by improperly diverting, dissipating, and/or

disposing of Cluster's assets without properly informing themselves

with regard to the actions they were taking and the resulting

effects on Cluster, by breaching their fiduciary duty of loyalty by

diverting, dissipating, and/or disposing of Cluster's                 assets for

the   benefit   of    themselves       or    their   relatives   or   friends   or

affiliated companies or for the benefit of certain preferred

creditors, and by engaging in transactions with insiders that were

unfair to Cluster and rendered Cluster unable to repay its debts.

By way of blatant self dealing transactions, Defendants Becerra and

Mirman orchestrated the wholesale transfer of all the assets of the

company and its subsidiaries and the corresponding profits and

caused the Debtor to release them from liability for their actions.

        Diverting, Dissipating, and/or Disposing of Assets

                                        216.

      Defendants Becerra and Mirman breached their fiduciary duties

to Cluster's creditors by, among other things, committing the

conduct described above and summarized below:

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      a)   allowing Cluster to enter employment agreements that were

           not in the best interest of the company, but that only

           came about as a result of the self interest of these

           Defendants;

      b)   causing Cluster to issue stock to individuals, including

           these Defendants, when no legitimate basis existed for

           such issuance, nor was there any legitimate consideration

           for the issuance of such stock;

      c)   creating competing businesses;

      d)   misappropriating the technology and trade secrets that

           were the property of the Debtor;

      e)   causing the DRS Intellectual Property Rights and other

           intellectual property belonging to the Debtor to be

           fraudulently transferred;

      f)   causing the assets of the Debtor to be fraudulently

           transferred;

      g)   causing the transfer of Polar Powder trademark to a

           company owned and controlled by Defendant Becerra.

                                       217.

      Defendants Becerra and Mirman breached their fiduciary duties

to Cluster's creditors by failing to investigate, consider, and

assess the prospective economic effect such diversion, dissipation,

and/or disposition of assets would have on Cluster.

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                                        218.

       Defendants Becerra and Mirman, knowingly and in bad faith, and

for    their   own    interest,       assisted     in   the   formulation      and

consummation of the schemes to divert, dissipate, and/or dispose of

these funds, when they knew or were reckless in not knowing that

Cluster was insolvent or would be rendered insolvent as a result of

such diversion, dissipation, and/or disposition and that their

conduct would result in injury to Cluster.

                                      Damages

                                        219.

       As a result of the foregoing breaches of their fiduciary

duties, Cluster's creditors were damaged in an amount not yet

capable of being precisely ascertained, but which will be proven at

trial.

                                        220.

       As a result of the foregoing, Defendants Becerra and Mirman

are liable to Cluster's estate for actual damages in an amount to

be determined at trial.

                               COUNT XI
      (Negligence, Mismanagement, and Waste of Corporate Assets
       Asserted Against Becerra, Williams, Mirman, and Narlow)

                                        221.

       Plaintiff realleges paragraphs 1 through 149 above as if fully

set forth herein.

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                                       222.

      As officers and directors of Cluster, Defendants Becerra,

Williams, Mirman, and Narlow owed Cluster a duty of due care and a

duty of loyalty requiring them to act with utmost prudence in the

management of the business of Cluster and its assets.

                                       223.

      Defendants Becerra, Williams, Mirman, and Narlow breached

their duty of care and duty of loyalty owed to Cluster by, among

other things, committing the conduct described above and summarized

below:

      a)   allowing Cluster to enter employment agreements that were

           not in the best interest of the company, but that only

           came about as a result of the self interest of these

           Defendants;

      b)   causing Cluster to issue stock to individuals, including

           themselves, when no legitimate basis existed for such

           issuance, nor was there any legitimate consideration for

           the issuance of such stock;

      c)   creating competing businesses;

      d)   Misappropriating the technology and trade secrets that

           were the property of the Debtor;

      e)   causing the DRS Intellectual Property Rights and other

           intellectual property belonging to the Debtor to be

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           fraudulently transferred;

      f)   causing the assets of the Debtor to be fraudulently

           transferred;

      g)   causing the transfer of the Polar Powder assets to a

           company owned and controlled by Defendant Becerra;

      h)   engaging in self-dealing transactions which were unfair

           to the Debtor, including, without limitation, causing the

           Debtor to release one or more of the Defendants from

           liability for their actions.

                                        224.

      The breaches of duties, negligence, mismanagement, and other

actions of Defendants Becerra, Williams, Mirman, and Narlow caused

the waste of corporate assets of Cluster as alleged herein.

                                        225.

      As a direct and proximate result of such waste, Cluster was

damaged in that its assets were substantially depleted and it was

unable to satisfy its obligations to creditors as they came due.

                                  COUNT XII
                    (Civil Conspiracy/Acting in Concert)

                                        226.

      Plaintiff realleges paragraphs 1 through 149 above as if fully

set forth herein.




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                                        227.

       Defendants    Becerra,        Mirman,     and    Narlow    owed       fiduciary

obligations to Cluster.              These fiduciary obligations included

duties of loyalty, due care, and full and fair disclosure.

                                        228.

       Defendants Becerra, Mirman, and Narlow breached the fiduciary

obligations they owed to Cluster.

                                        229.

       As a direct and proximate result of the breaches of fiduciary

duties by Defendants Becerra, Mirman, and Narlow, Cluster and its

subsidiaries were damaged.

                                        230.

       Defendants    Becerra,         Mirman,     and    Narlow       conspired     in

combination with one or more of the other Defendants another to

accomplish an unlawful end or to accomplish a lawful end by

unlawful   means,    such      as    breaching    the    fiduciary         obligations

Defendants   Becerra,        Mirman,    and    Narlow    owed    to   Cluster,     and

perpetrating a self-dealing transaction with the diversion of funds

into    salaries,    patent         technology,    usurpation         of     corporate

opportunity.

                                        231.

       One or more of the Defendants also committed tortious acts,

which were in concert with one another, or pursuant to a common

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design     in    breaching        the    fiduciary   duties      Defendants   Becerra,

Mirman, and Narlow owed to Cluster.

                                             232.

      Defendants Becerra, Mirman, and Narlow recklessly breached the

fiduciary duties they owed to Cluster and further conspired against

Cluster with one or more of the Defendants to do so as described

elsewhere herein.

                                             233.

      The       conspiracy        to    accomplish   an   unlawful    end,    using   an

unlawful means or acting in concert, includes, among other things,

the conduct described above and summarized below:

      a)        allowing Cluster to enter employment agreements that were

                not in the best interest of the company, but that only

                came about as a result of the self interest of the

                Defendants;

      b)        causing Cluster to issue stock to individuals, including

                Defendants        Becerra,     Mirman,     and     Narlow,    when    no

                legitimate basis existed for such issuance, nor was there

                any legitimate consideration for the issuance of such

                stock;

      c)        creating competing businesses;

      d)        misappropriating the technology and trade secrets that

                were the property of the Debtor;

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      e)   causing the DRS Intellectual Property Rights and other

           intellectual property belonging to the Debtor to be

           fraudulently transferred;

      f)   causing the assets of the Debtor to be fraudulently

           transferred;

      g)   causing the transfer of Polar Powder assets to a company

           owned and controlled by Defendant Becerra;

      h)   engaging in self-dealing transactions which were unfair

           to the Debtor, including, without limitation, causing the

           Debtor to release one or more of the Defendants from

           liability for their actions.

                                       234.

      Defendants Becerra, Mirman, and Narlow and one or more of the

Defendants understood the general objectives of the conspiratorial

scheme, accepted them and agreed, either explicitly or implicitly,

to his part to further the objectives of the conspiracy or common

scheme.

                                       235.

      Defendants Becerra, Mirman, and Narlow and one or more of the

Defendants acted in concert, pursuant to a common design, and

conspired in combination with each other to accomplish, among other

things, the above-described torts and breaches.



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                                       236.

      Cluster was damaged as a result of the acts committed in the

course of the conspiracy.             The conspiracy or concerted action

aggravated damages caused by the above-mentioned acts.

                                       237.

      As   a      result      of    the         foregoing     actions      and        the

conspiracy/concerted action of Defendants Becerra, Mirman, and

Narlow and one or more of the Defendants, Cluster was damaged in an

amount not yet capable of being precisely ascertained, but which

will be proven at trial.

                                       238.

      As a result of the foregoing, Defendants Becerra, Mirman, and

Narlow and one or more of the Defendants are liable to Plaintiff

and   Cluster's     estate    for   actual       damages    in   an    amount    to   be

determined at trial.

                                       239.

      Plaintiff     is   entitled     to    recover    pre-      and   post-judgment

interest at the statutory rate.

                                       240.

      Defendants Becerra, Mirman, and Narlow and one or more of the

Defendants recklessly, willfully, and intentionally conspired or

acted in concert with each other.               Defendants Becerra, Mirman, and

Narlow and one or more of the Defendants also acted with an evil

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mind   and    with   a   callous     disregard    for   Cluster's    rights    and

interests.     Accordingly, Cluster is entitled to punitive damages.

                                 COUNT XIII
             (Preferences Avoidable Under 11 U.S.C. § 547(b)
                  and Recoverable Under 11 U.S.C. § 550)
                            (Alternative Count)

                                        241.

       Plaintiff realleges paragraphs 1 through 149 above as if fully

set forth herein.

                                        242.

       In the event that it is determined that the Subsequent

Avoidable Transfers and the Cambria Transfer to Defendant Cambria

and Defendant Becerra and/or one or more of the Defendants are not

avoidable as fraudulent conveyances or fraudulent transfers (which

Plaintiff would dispute), the Subsequent Avoidable Transfers and

the Cambria Transfer can and should be set aside as avoidable

preferences under 11 U.S.C. § 547(b).

                                        243.

       At the time of the Subsequent Avoidable Transfers and the

Cambria Transfer, the funds and property transferred constituted an

interest of Cluster in property.

                                        244.

       The Subsequent Avoidable Transfers and the Cambria Transfer

were to or for the benefit of Defendant Cambria and Defendant


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Becerra and/or one or more of the Defendants.

                                       245.

      In the event that it is determined that the Subsequent

Avoidable Transfers and the Cambria Transfer are not avoidable as

fraudulent conveyances or fraudulent transfers pursuant to 11

U.S.C. § 548 or 11 U.S.C. § 544(b) and applicable state law (which

Plaintiff disputes), the Subsequent Avoidable Transfers and the

Cambria Transfer were made for or on account of antecedent debt

owed by Cluster before the transfers were made.

                                       246.

      The Subsequent Avoidable Transfers and the Cambria Transfer

were made while Cluster was insolvent.

                                       247.

      The Subsequent Avoidable Transfers and the Cambria Transfer

were made within one year before the Petition Date, and Defendant

Cambria and Defendant Becerra and/or one or more of the Defendants

were insiders of Cluster at the time of the Subsequent Avoidable

Transfers and the Cambria Transfer.

                                       248.

      The Subsequent Avoidable Transfers and the Cambria Transfer

enabled Defendant Cambria and Defendant Becerra and/or one or more

of the Defendants to receive more than they would have received if

the case were a case under Chapter 7 of the Bankruptcy Code.

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                                       249.

      Accordingly,     the     Subsequent     Avoidable   Transfers      and   the

Cambria Transfer are avoidable by Plaintiff under § 547(b) of the

Bankruptcy Code.

                             COUNT XIV
           (Fraud by Defendants Becerra, Mirman, Narlow,
                NAM, vFinance, Adagen and Grabaldi)

                                       250.

      Plaintiff realleges paragraphs 1 through 149 above as if fully

set forth herein.

                                       251.

      Defendants Becerra, Mirman, Narlow, vFinance, NAM and Grabaldi

committed fraud upon Cluster in engineering the conversion of its

assets.

                                       252.

      Mirman controlled vFinance; Narlow and Becerra controlled

Grabaldi; Becerra controlled NAM; Adagen is an affiliate of NAM;

Mirman and Becerra caused Cluster to allow assets to be drained

from the Debtor.       Each of these defendants participated in the

making of material statements or representations that were intended

to be relied upon, and reasonably were relied upon by others, which

statements were reasonable on their face, and yet were intended to

and did deceive.



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                                        253.

      Furthermore, as a direct and proximate result of the reliance

on the statements, the corporation was harmed and substantially so.

                                        254.

      The fraud was conducted with full knowledge by the Defendants

of the reliance that they had created.

                                  COUNT XV
                  (Declaratory Judgment/Unjust Enrichment
                 against Defendants Becerra and Williams)

                                        255.

      Plaintiff realleges paragraphs 1 through 149 above as if fully

set forth herein.

                                        256.

      As described above, Defendants Becerra and Williams caused

Cluster    to    release     them   from    liability      for   various   conduct

detrimental to the Cluster, its shareholders and its creditors.

                                        257.

      These releases were obtained without consideration paid to the

Debtor.

                                        258.

      As   a    result,    Defendants      Becerra   and    Williams   have    been

unjustly enriched at the expense of the Debtor, its shareholders,

and its creditors.



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                                       259.

      Accordingly, the Court should set aside the releases and enter

a judgment declaring the releases void.

                               COUNT XVI
              (Constructive Trust against all Defendants)

                                       260.

      Plaintiff realleges paragraphs 1 through 149 above as if fully

set forth herein.

                                       261.

      As described above, Defendants Becerra, NAM, Adagen, Grabaldi,

Cambria and one or more of the Defendants have accepted fraudulent

transfers of the DRS Intellectual Property Rights, as well as other

intellectual property and patented technology belonging to the

Debtor, with knowledge of the underlying fraud.

                                       262.

      As a result, these Defendants have been unjustly enriched by

their receipt of the DRS Intellectual Property Rights and other

intellectual property and patented technology of the Debtor, and a

constructive trust for the benefit of the estate has been created

in the DRS Intellectual Property Rights and other intellectual

property and patented technology of the Debtor received by these

Defendants.




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                                        263.

      Accordingly,     the     Court    should    set   aside    the     Transfers

described herein.

                           COUNT XVII
(Subordination of Claims and Interests Under 11 U.S.C. § 510(c))

                                        264.

      Plaintiff realleges paragraphs 1 through 149 above as if fully

set forth herein.

                                        265.

      The Defendants have engaged in inequitable conduct.

                                        266.

      Without   authority       and    without   consideration    paid     to   the

Debtor, the Defendants have caused the transfer of the Debtor’s

assets for their sole benefit to the detriment of the Debtor, its

shareholders, and its creditors.

                                        267.

      Accordingly, the Court should subordinate any allowed claim or

interest of the Defendants in the Debtor’s bankruptcy case.

                                   COUNT XVIII
                                  (Accounting)

                                        268.

      Plaintiff realleges paragraphs 1 through 149 above as if fully

set forth herein.



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                                       269.

      Defendants NAM, Adagen, Becerra, and one or more of the other

Defendants have received the proceeds of improper sales of DRS

Systems and Accu-SPINA Systems and other intellectual property and

patented technology belonging to the Debtor.

                                       270.

      Cluster is entitled to the proceeds of these sales.

                                       271.

      The amount of the proceeds is unknown.

                                       272.

      Plaintiff requires an accounting by these Defendants in order

to determine the amount of the proceeds of the improper sales DRS

Systems and Accu-SPINA Systems and other intellectual property and

patented technology belonging to the Debtor.

                            COUNT XIX
  (Avoidance and Recovery of Transfers in Violation of Delaware
    Corporate Code pursuant to 11 U.S.C. §§ 544(b) and 550(a)
                  and 8 Del. C. §§ 144 and 271)

                                       273.

      Plaintiff realleges paragraphs 1 through 149 above as if fully

set forth herein.

                                       274.

      Each   of     the   Transfers      described     above    constitutes     a

“transaction between a corporation and 1 or more of its directors


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or officers, or between a corporation and any other corporation,

partnership, association, or other organization in which 1 or more

of its directors or officers, are directors or officers, or have a

financial interest . . . ”

                                       275.

      With regard to each of the Transfers, Defendants Becerra and

Mirman, as directors of Cluster, failed to disclose to the Debtor’s

Board, including, without limitation, directors Williams, Clark,

Siegel, Yeager, and Sheppard, and to the Debtor’s shareholders

material facts regarding their relationship or interest as to the

transactions.

                                       276.

      Accordingly, under Del. C. § 144, the Transfers are avoidable

and recoverable by Plaintiff pursuant to 11 U.S.C. §§ 544(b) and

550(a).

                                       277.

      In the alternative, each of the Transfers also constituted a

sale, lease, or exchange of all or substantially all of the

Debtor’s property and assets and were made without approval of

Debtor’s shareholders.

                                       278.

      Accordingly, under Del. C. § 271, the Transfers are avoidable

and recoverable by Plaintiff pursuant to 11 U.S.C. §§ 544(b) and

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550(a).

                                COUNT XX
           (Unfair Competition and Deceptive Trade Practices
                    pursuant to O.C.G.A. §§ 10-1-373
              against Defendants NAM, Adagen, and Shealy)

                                        279.

      Plaintiff realleges paragraphs 1 through 149 above as if fully

set forth herein.

                                        280.

      The Debtor is a “person” within the meaning of O.C.G.A. § 10-

1-371(5).

                                        281.

      Defendants NAM, Adagen, and Shealy, in concert with one or

more of the Defendants, have engaged in conduct, described in

further detail above, in violation of the Georgia Uniform Deceptive

Trade Practices Act, O.C.G.A. § 10-1-370, et seq., including,

without limitation:

      a)     marketing   and     selling       the   Accu-SPINA   System       as   an

             improvement upon the DRS System;

      b)    claiming     that     the   Accu-SPINA       system   is     the    only

             authorized machine based upon the 950 Patent; and

      c)    using the DRS Property Rights without authorization.

                                        282.

      Defendants NAM, Adagen, Shealy, and one or more of the other


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Defendants have knowingly, willfully, intentionally, recklessly,

negligently, wrongfully, fraudulently, and/or maliciously engaged

in the conduct described above knowing it to be deceptive.

                                     283.

      As a direct and proximate result of the conduct of Defendants

NAM, Adagen, Shealy, and one or more of the other Defendants, the

Debtor has been damaged and injured in an amount to be proven at

trial.

                                     284.

      As a direct and proximate result of the conduct of Defendants

NAM, Adagen, Shealy, and one or more of the other Defendants, the

Debtor has suffered and continues to presently suffer and sustain

certain immediate and possibly irreparable damage, injury and harm

as described herein.       Unless Defendants NAM, Adagen, Shealy, and

one or more of the other Defendants are restrained and enjoined

from continuing the conduct described above, the Debtor will

continue to suffer additional, certain, immediate and possibly

irreparable damage, injury and harm.         Furthermore, Defendants NAM,

Adagen, Shealy, and one or more of the other Defendants should be

restrained and enjoined from continuing the conduct described above

because the Debtor is without a plain, adequate and complete remedy

at law for the damage, injury and harm still to be sustained by the

Debtor because of the difficulty and possible impossibility of

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accurately calculating those future damages and injuries because

monetary damages do not satisfy all losses sustained by the Debtor.

                                 COUNT XXI
                            (Punitive Damages)

                                     285.

      Plaintiff realleges paragraphs 1 through 149 above as if fully

set forth herein.

                                     286.

      The conduct of the Defendants was intentional and done with

full knowledge that it would cause financial harm and devastation

to Debtor.

                                     287.

      The Defendants were reckless, and wanton in their conduct, and

such conduct should not be condoned in a civilized society.

                                     288.

      The Defendants' conduct caused damage to Plaintiff, and should

be punished and Plaintiff is entitled to an award of punitive

damages.

                               COUNT XXII
           (Attorneys' Fees Asserted Against All Defendants)

                                     289.

      Plaintiff realleges paragraphs 1 through 149 above as if fully

set forth herein.



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                                        290.

      Defendants have acted in bad faith and have caused unnecessary

trouble and expense.         Therefore, Plaintiff is entitled to recover

from Defendants their attorneys' fees and expenses.

                                        291.

      Plaintiff reserves the right to amend this Complaint to bring

additional counts relating to infringement of the 950 Patent by one

or   more   of    the     Defendants,   and    any   other   parties    who   have

participated in the infringement of the 950 Patent, including,

without limitation, officers and directors of the various corporate

Defendants, pursuant to 35 U.S.C. § 271.

      WHEREFORE, Plaintiff respectfully requests relief as follows:

      (a)   under Count I, pursuant to 11 U.S.C. §§ 544(b) and 550(a)

            and O.C.G.A. §§ 18-2-22(ii) or (iii), that the Court

            adjudge the First, Second, and Third Avoidable Transfers

            and     the    Adagen   Transfer    void   and   order     Defendants

            Becerra, NAM, Adagen and/or one or more of the Defendants

            to return the DRS Intellectual Property Rights to the

            Debtor to the extent they were transferred, or in the

            alternative, award Plaintiff judgment against Defendants

            Becerra, NAM, Adagen and/or one or more of the Defendants

            in an amount to be determined at trial for the value of

            the     DRS    Intellectual   Property     Rights   together      with

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            applicable pre-judgment interest from the dates of the

            First, Second, and Third Avoidable Transfers and the

            Adagen Transfer and applicable post-judgment interest;

      (b)   under Count II, in the alternative and only to the extent

            that relief is not granted under Count I, pursuant to 11

            U.S.C. §§ 544(b) and 550(a) and F.S.A. §§ 726.105(1)(a)

            or (b) and 726.108, that the Court avoid the First,

            Second, and Third Avoidable Transfers and the Adagen

            Transfer and order Defendants Becerra, NAM, Adagen and/or

            one     or   more   of   the   Defendants    to     return   the    DRS

            Intellectual Property Rights to the Debtor to the extent

            they were transferred, or in the alternative, award

            Plaintiff      judgment    against    Defendants     Becerra,      NAM,

            Adagen and/or one or more of the Defendants in an amount

            to be determined at trial for the value of the DRS

            Intellectual Property Rights together with applicable

            pre-judgment        interest   from   the   dates    of   the   First,

            Second, and Third Avoidable Transfers and the Adagen

            Transfer and applicable post-judgment interest;

      (c)   under Count III, pursuant to 11 U.S.C. §§ 544(b) and

            550(a) and O.C.G.A. §§ 18-2-74(a)(1) or (2) and 18-2-77

            or F.S.A. §§ 726.105(1)(a) or (b) and 726.108, that the

            Court avoid the Fourth, Fifth, Sixth, and Subsequent

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            Avoidable Transfers and the Polar Powder and Cambria

            Transfers and order Defendants Becerra, NAM, Grabaldi,

            Cambria and/or one or more of the Defendants to return

            the DRS Intellectual Property Rights and the Polar Powder

            assets to the Debtor to the extent they were transferred,

            or in the alternative, award Plaintiff judgment against

            Defendants Becerra, NAM, Grabaldi, Cambria and/or one or

            more of the Defendants in an amount to be determined at

            trial for the value of the DRS Intellectual Property

            Rights     and   the   Polar    Powder   assets   together     with

            applicable pre-judgment interest from the dates of the

            Fourth, Fifth, Sixth, and Subsequent Avoidable Transfers

            and the Polar Powder and Cambria Transfers and applicable

            post-judgment interest;

      (d)   under Count IV, in the alternative and only to the extent

            that relief is not granted under Count III with respect

            to the Sixth Avoidable Transfer, pursuant to 11 U.S.C. §§

            544(b) and 550(a) and O.C.G.A. §§ 18-2-75(b) and 18-2-77

            or F.S.A. §§ 726.106(2) and 726.108, that the Court avoid

            the Sixth Avoidable Transfer and order Defendant Grabaldi

            and/or one or more of the Defendants to return the DRS

            Intellectual Property Rights to the Debtor to the extent

            they were transferred, or in the alternative, award

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            Plaintiff judgment against Defendant Grabaldi and/or one

            or more of the Defendants in an amount to be determined

            at trial for the value of the DRS Intellectual Property

            Rights, to the extent they were transferred together with

            applicable pre-judgment interest from the date of the

            Sixth Avoidable Transfer and applicable post-judgment

            interest;

      (e)   under Count V, in the alternative and only to the extent

            that relief is not granted under Count III with respect

            to the Subsequent Avoidable Transfers and the Cambria

            Transfer, pursuant to 11 U.S.C. §§           548(a)(1)(A) or (B)

            and 550(a), that the Court avoid the Subsequent Avoidable

            Transfers and the Cambria Transfer, to the extent they

            occurred within one year prior to the Petition Date, and

            order Defendant Cambria and Defendant Becerra and/or one

            or more of the other Defendants to return the DRS

            Intellectual Property Rights to the Debtor to the extent

            they were transferred, or in the alternative, award

            Plaintiff     judgment     against      Defendant    Cambria     and

            Defendant    Becerra     and/or   one   or   more   of   the   other

            Defendants in an amount to be determined at trial for the

            value of the DRS Intellectual Property Rights together

            with applicable pre-judgment interest from the dates of

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            the     Subsequent     Avoidable    Transfers     and    the   Cambria

            Transfer and applicable post-judgment interest;

      (f)   under Count VI, pursuant to 11 U.S.C. §§ 549 and 550(a),

            that     the   Court    avoid      the    Post-Petition    Avoidable

            Transfers and order Defendant Becerra and/or one or more

            of the Defendants to return the DRS Intellectual Property

            Rights to the Debtor to the extent they were transferred,

            or in the alternative, award Plaintiff judgment against

            Defendant Becerra and/or one or more of the Defendants in

            an amount to be determined at trial for the value of the

            DRS Intellectual Property Rights together with applicable

            pre-judgment interest from the dates of the Post-Petition

            Avoidable      Transfers     and         applicable     post-judgment

            interest;

      (g)   under Count VII, pursuant to 11 U.S.C. § 542, that the

            Court order one or more of the Defendants to immediately

            turnover any and all drawings, diagrams, patents, and/or

            intellectual property contained and/or used in patents

            applied for by and/or issued to one or more of the

            Defendants, including, without limitation, the 217 Patent

            and other patents applied for and/or granted in the

            United States or internationally based upon the DRS

            Systems and/or other intellectual property or patented

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            technology      belonging         to    the       Debtor,     or    in   the

            alternative, award Plaintiff judgment against Defendants

            in an amount to be determined at trial for the value of

            the drawings, diagrams, patents, and/or intellectual

            property contained and/or used in patents applied for by

            and/or     issued     to    one    or   more       of   the   Defendants,

            including, without limitation, the 217 Patent and other

            patents applied for and/or granted in the United States

            or internationally based upon the DRS Systems and/or

            other    intellectual       property         or    patented    technology

            belonging to the Debtor, together with applicable pre-

            judgment and post-judgment interest;

      (h)   under Count VIII, that the Court enter judgment for

            special     damages    in    favor      of    Plaintiff       and   against

            Defendants      Becerra,      Mirman,         Narlow,       NAM,    Adagen,

            vFinance, and Grabaldi, and each of them, in an amount to

            be proven at trial and for general damages in favor of

            Plaintiff and against Defendants Becerra, Mirman, Narlow,

            NAM, Adagen, vFinance, and Grabaldi in an amount to be

            proven at trial;

      (i)   under Count IX, that the Court enter judgment for special

            damages in favor of Plaintiff and against Defendants

            Becerra and Mirman, and each of them, in an amount to be

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            proven at trial and for general damages in favor of

            Plaintiff and against Defendants Becerra and Mirman in an

            amount to be proven at trial;

      (j)   under Count X, that the Court enter judgment for special

            damages in favor of Plaintiff and against Defendants

            Becerra and Mirman, and each of them, in an amount to be

            proven at trial and for general damages in favor of

            Plaintiff and against Defendants Becerra and Mirman in an

            amount to be proven at trial;

      (k)   under Count XI, that the Court enter judgment for special

            damages in favor of Plaintiff and against Defendants

            Becerra, Mirman, Williams, and Narlow, and each of them,

            in an amount to be proven at trial and for general

            damages in favor of Plaintiff and against Defendants

            Becerra, Mirman, Williams, and Narlow in an amount to be

            proven at trial;

      (l)   under Count XII, that the Court enter judgment for

            special damages in favor of Plaintiff and against the

            Defendants, and each of them, in an amount to be proven

            at trial and for general damages in favor of Plaintiff

            and against the Defendants in an amount to be proven at

            trial;

      (m)   under Count XIII, in the alternative and only to the

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            extent that relief is not granted under Counts III or V

            with respect to the Subsequent Avoidable Transfers and

            the     Cambria   Transfer,      pursuant   to    11    U.S.C.     §§

            548(a)(1)(A) or (B) and 550(a), that the Court avoid the

            Subsequent Avoidable Transfers and the Cambria Transfer,

            to the extent they occurred within one year prior to the

            Petition Date, and order Defendant Cambria and Defendant

            Becerra and/or one or more of the Defendants to return

            the DRS Intellectual Property Rights to the Debtor to the

            extent they were transferred, or in the alternative,

            award Plaintiff judgment against Defendant Cambria and

            Defendant Becerra and/or one or more of the Defendants in

            an amount to be determined at trial for the value of the

            DRS Intellectual Property Rights together with applicable

            pre-judgment interest from the dates of the Subsequent

            Avoidable    Transfers     and    the   Cambria     Transfer      and

            applicable post-judgment interest;

      (n)   under Count XIV, that the Court enter judgment for

            special    damages   in   favor    of   Plaintiff      and   against

            Defendants Becerra, Mirman, Narlow, NAM, vFinance, Adagen

            and Grabaldi, and each of them, in an amount to be proven

            at trial and for general damages in favor of Plaintiff

            and against Defendants Becerra, Mirman, Narlow, NAM,

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            vFinance, Adagen and Grabaldi in an amount to be proven

            at trial;

      (o)   under Count XV, that the Court set aside the Debtor’s

            releases of Defendants Becerra and Williams and enter a

            judgment declaring the releases void;

      (p)   under Count XVI, that the Court adjudge the Avoidable

            Transfers described herein void and order Defendants to

            return the DRS Intellectual Property Rights, the Polar

            Powder assets, and any other intellectual property and

            patented technology belonging to the Debtor to the extent

            they were transferred, or in the alternative, award

            Plaintiff judgment against the Defendants in an amount to

            be    determined      at   trial   for     the   value    of   the   DRS

            Intellectual Property Rights, the Polar Powder assets,

            and     any   other    intellectual        property      and   patented

            technology       belonging    to    the    Debtor     transferred     to

            Defendants together with applicable pre-judgment interest

            from the dates of the Avoidable Transfers described

            herein and applicable post-judgment interest;

      (q)   under Count XVII, pursuant to 11 U.S.C. § 510(c), that

            the Court subordinate any allowed claim or interest of

            the Defendants in the Debtor’s bankruptcy case;

      (r)   under    Count    XVIII,     the   Court    order   Defendants       NAM,

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            Adagen, Becerra, and one or more of the other Defendants

            to make an accounting of all sales of the DRS System and

            the Accu-SPINA System and other intellectual property and

            patented technology belonging to the Debtor and that the

            Court enter judgment against Defendants NAM, Adagen,

            Becerra, and one or more of the other Defendants in favor

            of Plaintiff in the amount thereof for improper sales of

            the DRS System and the Accu-SPINA System and other

            intellectual property and patented technology belonging

            to the Debtor;

      (s)   under Count XIX, pursuant to 11 U.S.C. §§ 544(b) and

            550(a) and Del C. §§ 144 and 271, that the Court adjudge

            the Avoidable Transfers void and order the Defendants to

            return the DRS Intellectual Property Rights, the Polar

            Powder assets, and any other intellectual property and

            patented technology belonging to the Debtor to the extent

            they were transferred, or in the alternative, award

            Plaintiff judgment against the Defendants in an amount to

            be    determined      at   trial   for   the   value    of   the   DRS

            Intellectual Property Rights, the Polar Powder assets,

            and     any   other    intellectual      property      and   patented

            technology     belonging      to   the    Debtor    together       with

            applicable pre-judgment interest from the dates of the

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            Avoidable      Transfers      and      applicable       post-judgment

            interest;

      (t)   under Count XX, pursuant to O.C.G.A. §§ 10-1-373, that

            the Court enter preliminary and permanent injunctions

            enjoining Defendant NAM, Adagen, Shealy, and one or more

            of   the   Defendants    from      continuing      to   unfairly   and

            deceptively market and sell Accu-SPINA machines and from

            using the DRS Intellectual Property Rights in their

            entirety;

      (u)   that the Court enter judgment for punitive damages in an

            amount to be proven at trial in favor of Plaintiff and

            against the Defendants, and each of them;

      (v)   that    the   Court   award       to   Plaintiff    his   reasonable

            attorneys’     fees   and    expenses     of   litigation    against

            Defendants in bringing this action; and

      (w)   that the Court award such other and further relief as may

            be just and proper.




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                                  [COMPLAINT
                           HAYS V. BECERRA, ET AL.]

      Respectfully submitted, this 16th day of June 2006.

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